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                               No. 22-1466


UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


NATIONAL WILDLIFE FEDERATION, AMERICAN RIVERS, PRAIRIE
    RIVERS NETWORK, and MISSOURI COALITION FOR THE
                    ENVIRONMENT,
                          Plaintiffs-Appellants,
                                     v.
UNITED STATES ARMY CORPS OF ENGINEERS; LT. GENERAL TODD
  T. SEMONITE, Commanding General and Chief of Engineers, MAJOR
  GENERAL RICHARD M. TOY, Commander of the Mississippi Valley
             Division of the Army Corps of Engineers,
                          Defendants-Appellees.
__________________________________________________________________
    ON APPEAL FROM THE SOUTHERN DISTRICT OF ILLINOIS
                  NO. 3:20-cv-00443-DWD

                     APPELLANTS’ OPENING BRIEF

                      STEPHAN C. VOLKER (CSB #63093)
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                 CORPORATE DISCLOSURE STATEMENT
      Pursuant to Federal Rule of Appellate Procedure 26.1, Appellants National
Wildlife Federation, American Rivers, Prairie Rivers Network and Missouri
Coalition for the Environment, submit the following disclosure statement.
      Appellants National Wildlife Federation, American Rivers, Prairie Rivers
Network and Missouri Coalition for the Environment are each non-profit
corporations, and do not have any parent companies, subsidiaries, or affiliates that
have issued shares to the public in the United States or abroad.
October 12, 2022                Respectfully submitted,
                                /s/ Stephan C. Volker
                                STEPHAN C. VOLKER
                                Attorney for Plaintiffs and Appellants
                                NATIONAL WILDLIFE FEDERATION, et al.




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                                 

                    


                          


 
 


   
  




             
                    

       
          
                       
          

          

       
          
                             
          

          
                      

       

                  

                    

                 

                    

       

          

       

          







                                                                                                                              




          




                                                                                                                                          
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           22-1466

     National Wildlife Federation, et al., v. United States Army Corps of Engineers




National Wildlife Federation, American Rivers, Prairie Rivers Network, and Missouri Coalition for the Environment




Law Offices of Stephan C. Volker: Stephan C. Volker, Alexis E. Krieg, Stephanie L. Clarke, Jamey M.B. Volker; Great

Rivers Environmental Law Center, Bruce A. Morrison; Dairyland Public Interest Law, Kathleen Henry




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STATEMENT OF DISTRICT AND APPELLATE COURT JURISDICTION
      The District Court exercised federal question jurisdiction under 28 U.S.C. §
1331 over the Defendants U.S. Army Corps of Engineers, et al.’s (collectively,
“the Corps’”) final agency action pursuant to the Administrative Procedure Act
(“APA”), 5 U.S.C. § 706(2)(A)-(D). This Court has jurisdiction to review its
Judgment dismissing this action under 28 U.S.C. § 1291.
                            STATEMENT OF ISSUES
      1. Did the District Court err in ruling the Water Resources Development
Act (“WRDA”) of 2007, 33 U.S.C. § 2283(d), did not require the Corps to prepare
a specific mitigation plan before approving its Mississippi River Regulating
Works Project (“Project”) and Supplemental Environmental Impact Statement
(“SEIS”)?
      2. Did the District Court err in ruling the National Environmental Policy
Act (“NEPA”), 42 U.S.C. § 4231 et seq., did not require the Corps to consider an
alternative to the Project other than essentially the Project less one central
component, and did not require the Corps to review related activities and impacts
not assessed in the SEIS?

                          STATEMENT OF THE CASE
      A.     INTRODUCTION
      This is a public interest case to enforce federal environmental laws to
protect and restore the extraordinary – but imperiled – habitat of the Middle
Mississippi River brought by the National Wildlife Federation, American Rivers,
Prairie Rivers Network, and Missouri Coalition for the Environment (collectively,


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“Conservation Coalition” or “Coalition”). The Coalition contends the Corps must
consider alternatives and mitigations that would reduce the adverse impacts on
fish, wildlife and public safety of its continuing construction of hundreds of miles
of river bank hardening and narrowing structures along the Middle Mississippi
River.
         The Coalition appeals the District Court’s Order filed January 22, 2022
(Dkt. 55; “Order”) (Appellants’ Required Short Appendix (“RSA”) 1-40) and
Judgment filed January 25, 2022 (Dkt. 56) (RSA41) dismissing the Coalition’s
lawsuit, on two grounds. The Court’s Order mistakenly holds: (1) the WRDA of
2007, 33 U.S.C. section 2283(d)(1), did not expand the Corps’ duty to prepare
mitigation plans to apply to its approval of the Project and its Supplemental
Environmental Impact Statement; and (2) NEPA does not require the Corps to
consider an alternative to the Project other than the Project without new river
training structures and to review related activities and impacts not assessed in the
SEIS.
         B.    PROCEDURAL HISTORY
         The Coalition filed this action in the Southern District of Illinois on May 13,
2020, challenging the Corps’ approval of the Project and its Supplemental
Environmental Impact Statement (“SEIS”). It alleged claims under the APA, the
2007 WRDA, NEPA, the Fish and Wildlife Coordination Act (“FWCA”), 16
U.S.C. § 661 et seq., and the Rivers and Harbors (“R&H”) Act of 1927 (ch. 47,
Stat. 1010). Appellants’ Separate Appendix (“AA”) 1-96.
         The parties briefed their cross-motions for summary judgment under
Fed.R.Civ.Pro. Rule 56 between February 15 and August 18, 2021. Dkt. 34, 40,

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43 and 49. The Honorable David W. Dugan heard argument September 7, 2021.
Judge Dugan filed his Order denying the Conservation Coalition’s motion and
granting the Corps’ motion, and Judgment of Dismissal on January 25, 2022.
      Plaintiffs timely appealed on March 22, 2022 (Dkt. 57).
      C.     STATEMENT OF FACTS
             1.    Summary of Issues and Project History
      The Middle Mississippi is a vital national resource for people and wildlife.
However, it has suffered a steep ecological decline due to the Project. The
Coalition sued to compel the Corps to perform critical statutory duties to address
the severe adverse impacts of its Project on the 195-mile long Middle Mississippi
River between the Mississippi River’s confluence with the Missouri River just
north of St. Louis, and its confluence with the Ohio River at the southern tip of
Illinois. AA839-840, 872.
      The Coalition appeals the District Court’s Judgment upholding the Corps’
Record of Decision (“ROD”) approving its 2017 Regulating Works Project and
Final SEIS (“FSEIS”) on the Project’s massive river training structures including
dikes, weirs, chevrons, and bank hardening revetments (“regulating works”), and
related “operations and maintenance” (“O&M”) activities, intended to narrow the
Mississippi River, harden its banks, and scour a navigation channel at least nine
feet deep and 300 feet wide.
       The ecological health of the MMR and its fish and wildlife populations are
declining because of growing habitat loss and degradation, much of which is being
caused by the Project. Yet the Corps failed to consider alternatives and
mitigations to reduce the Project’s impacts. The Corps insisted it must continue

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using outdated techniques Congress approved 110 years ago based on a Corps
plan developed 139 years ago. AA802-834, 840, 845, 857, 860. Its refusal to
study, develop and describe alternatives other than the binary choice between the
Project and the Project without new training structures violates NEPA.
      WRDA and NEPA work together to identify solutions that cause less harm
to the environment. WRDA requires the Corps to prepare a specific mitigation
plan to reduce the Project’s adverse impacts to ecological resources including fish
and wildlife. The Corps failed to prepare this required plan, claiming the
mitigation requirements of WRDA 2007 did not apply to the Project. The District
Court agreed. Order 30-34. The Coalition shows why this ruling is mistaken on
pages 18-33 below.
      NEPA requires the Corps to examine and disclose the Project’s
environmental impacts, “study, develop and describe” a reasonable range of
alternatives to reduce these impacts, and discuss scientific concerns about the
Project in the EIS’ text. 42 U.S.C. § 4321 et seq.; 40 C.F.R. §1502.9 (requiring
EIS to discuss “any responsible opposing view”). Examining a reasonable range
of alternatives assures that optimal ways to achieve a project’s purposes with less
environmental harm are fully explored. Yet the Court ruled the Corps complied
with NEPA. Order 9-30. The Coalition shows why this ruling is mistaken on
pages 33-52 below.

             2.    The Mississippi River Is a Vital National Resource
      The Mississippi River watershed drains 1,245,000 square miles including
thirty-two states and two Canadian provinces. AA674. The Upper Mississippi


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River System (“UMRS”) includes the Middle Mississippi River (“MMR”) and the
river upstream of the Missouri River and portions of the Illinois, Kaskaskia,
Minnesota, St. Croix, and Black Rivers. AA836. It has immense significance for
wildlife and recreation. It supports vast tracts of bottomland forest, wetlands, and
aquatic habitats, and “more than 300 species of birds, 57 species of mammals, 45
species of amphibians and reptiles, 150 species of fish, and nearly 50 species of
mussels.” AA406. Nearly half of North America’s migratory waterfowl and
shorebirds depend on the Mississippi River Valley for seasonal or year-round
habitat. AA406. Recreational opportunities in and around the rivers draw
millions of visitors annually. AA608. These rivers supply water to nearby cities
and farms, and support waterborne commerce. AA406.


             3.    History of the Project and its Prior NEPA Reviews
      The R&H Act of 1927 authorized the Project, based on the 1926 Chief of
Engineers’ Report at paragraphs 55-57, 80, 84 (AA333-334, 340-341), which
impose explicit limits on narrowing the Mississippi River’s width: once the river
was “contracted” (i.e., constricted) to a width of 2,000 to 2,500 feet (depending on
location) from bank-to-bank, the Corps was to maintain the deeper navigation
channel (which is much narrower) only through dredging. Id. Congress rejected
more aggressive contraction plans. AA1017, 263-271 (discussing relevant
documents). The Project’s 1,500 foot contraction (AA814, 1010-1015) ignores
this restriction, resulting in significant environmental harm and increased flood
risks for communities. AA591, 618, 873, 885, 1040-1054.
      The R&H Act of 1930 (ch. 847, Stats. 1930; P.L. 71-520), which authorized

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a navigation channel nine feet deep and 400 feet wide, does not modify the 1927
R&H Act’s bank-to-bank minimum width of 2000 feet, nor its direction to
maintain the navigation channel by dredging. Id.
      The Corps’ St. Louis, Rock Island, and St. Paul districts individually issued
four EISs on parts of the Project between 1974 and 1976, but each addressed only
that district’s portion. AA342, 619, 775-776. The Corps never reviewed the
entire Project in a single EIS. In 1997, the St. Paul District issued another EIS that
only addressed that district’s maintenance activities, and not its operations or
regulating works. AA350. Most river training structures are in the Rock Island
and St. Louis districts. The 1997 EIS acknowledged it did not address the Corps’
activities in the other districts, stating: “The major unresolved issue is the
cumulative impacts of the continued operations and maintenance of the 9-foot
navigation channel project.” AA352.
      Like the four EISs prepared in the 1970s and the fifth in 1997, the SEIS
challenged here did not examine the impacts of the new types of river training
structures the Corps has recently invented and begun installing, including
bendway weirs, chevrons, and rootless weirs, for example, nor the impacts of its
new and expanded operations and maintenance activities. AA821. Although the
Corps prepared two additional EISs related to the rivers subsequent to 1997,
neither addresses the Project’s O&M activities, their impacts, and alternatives or
mitigations that would avoid or reduce them. AA405-406, 837. For example, the
2004 EIS for the Navigation and Ecosystem Sustainability Project on the UMRS
simply presented a four-paragraph “general overview of maintenance dredging
activities and their respective role as ecological stressors,” a single table showing

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net arithmetic changes in acreage or lineal feet of certain river features between
1930 and 1973 (or some other years), and one paragraph stating that “newer
structures such as bendway weirs [and] chevron dikes . . . are being studied to
assess their effectiveness . . . and . . . habitat value . . . .” AA410-431.


             4.     Congress Sought to Curtail the Project’s Impacts
      As the Corps built more training structures, Congress recognized the
growing damage to the rivers and enacted several Water Resources Development
Acts (“WRDA’s”) to reverse those impacts. The 1986 WRDA (P.L. 99-662)
authorized the Corps to restore and improve the UMRS’s ecological conditions.
The 1990 WRDA (P.L. 101-640) directed the Corps to prioritize environmental
protection. The 2007 WRDA (P.L. 110-114) expanded its mitigation mandate and
authorized the Corps to carry out additional restoration projects in the UMRS.
AA819-820.

             5.     The Project’s Approval Perpetuates its Worsening Effects

      On August 31, 2017, the Corps issued a Record of Decision (“ROD”)
approving the FSEIS’ Preferred Alternative (the Project) to continue constructing
river training structures through at least 2034. AA840-842, 1010-1015. However,
the FSEIS limits the decision maker to making a binary choice between (1) the
status quo of continued construction of river training structures, revetment and
operation and maintenance activities (“O&M”), and (2) no new training structures
but the continued status quo of revetment and operation and maintenance, rather
than examining a reasonable range of alternatives as NEPA directs. AA793, 801,

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859-871, 947-979.
       The FSEIS provides some discussion of “regulating works” activities such
as river training structures, with only vague mentions of highly significant and
environmentally impactful O&M activities and bank stabilization actions such as
revetments. AA837, 867. The FSEIS simply assumes that the exact same O&M
and bank stabilization actions will occur under either of the two alternatives, and
provides no assessment of different alternatives for these highly significant
activities. Id.
       The FSEIS’ omission conflicted with NEPA’s purpose to “insure the
integrity of the process of decision by precluding stubborn problems or serious
criticism from being swept under the rug.” Silva v. Lynn, 482 F.2d 1282, 1285
(1st Cir. 1973). Thus, “where comments from responsible experts or sister
agencies disclose new or conflicting data or opinions that cause concern that the
agency may not have fully evaluated the project and its alternatives, these
comments may not simply be ignored. There must be good faith, reasoned
analysis in response.” Id. (emphasis added). The response must be disclosed in
“the final statement itself” to stimulate informed public comment. Center for
Biological Diversity v. U.S. Forest Serv., 349 F.3d 1157, 1169 (9th Cir. 2003);
Friends of the Earth v. Hall, 693 F.Supp. 904, 931 (W.D. Wash. 1988).
       The Coalition explained below that the Corps buried a brief summary of
responsible scientific opinion that river training structures narrow the river’s
channel and significantly increase flooding in an appendix. AA133-138, 239-240,
609-610, 613-615. The Coalition had asked the Corps to address published
studies based on decades of river height records showing that river training

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structures raise the river’s height where the channel is narrowed and for miles
upstream where flow is backed up. AA709-713, 737-749. The Corps did not
disclose these studies or the Corps’ responses in the body of the FSEIS. The
Corps’ “relegation [of opposing scientific opinion] to . . . the appendix was
improper under NEPA.” Pacific Coast Federation of Fishermen’s Associations v.
National Marine Fisheries Service, 482 F.Supp.2d 1248, 155 (W.D. Wash. 2007).
         Similarly, the Coalition explained that the Draft and Final SEISs omit the
Corps’ Independent External Peer Review (“IEPR”) Panel’s comments. AA138,
243-244. The Coalition recited verbatim the IEPR’s Panels’ four findings
(AA138, quoting AA985), and argued their omission from the Draft and Final
SEISs was error because “[i]t is not sufficient to include the Panel’s statements in
a separate report or Appendix, as opposing expert views must be included and
responded to in the EIS itself.” AA138 (citing Friends of the Earth v. Hall, 693
F.Supp. at 934). The District Court did not address the Coalition’s point that these
findings should have been disclosed in the EIS. Order 24-25.1

1
    The District Court criticized as “misleading” the Coalition counsel’s statement that

         “[T]he IEPR Report also concluded that “the SEIS has little information on the hydraulic
         engineering date for the MMR.” [AA992]. While the 1976 EIS contained data available
         then – over 45 years ago – that information is obsolete because both the hydraulics and
         hydrology of the Middle Mississippi River have changed significantly since 1976: [quote
         from AA873-874].”

AA136. The District Court correctly noted that the referenced sentence in its entirety reads:
“Although the SEIS has little information on the hydraulic and hydrologic engineering data for
the MMR, the 1976 EIS on the MMR was reviewed for this data and it was found to be complete
and suitable for SEIS review.” Order 24-25, quoting [AA992]. The Coalition should have
recited the entire sentence and then explained the four reasons why the second part of the
sentence – the part quoted by the District Court – was incorrect: (1) This sentence is actually not
from the IEPR Report but instead a summary prepared by the Corps’ consultant, Batelle, that

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               6.     Current Project Activities
       The Project’s construction, operations, and maintenance activities have
changed substantially over the past several decades, with different types of
structures – and far more – that have different impacts on river flow, water levels,
riverbank erosion and fish and wildlife habitat. Bendway weirs, commenced in
1989, are placed under water on the outside of a river bend, angled upstream and
direct water toward the inside of the bend. AA875-877. Chevrons, begun in
2001, are arch-shaped dikes positioned away from the river banks, with the curve
of the arch pointed upstream. Id. They split the river’s flow, scouring the main
channel and creating a second channel near the riverbank. Id. “Rootless” dikes,
not attached to the streambank, are also being built. Id. By 2010, the Corps built
at least 380 of these massive new river training structures in the MMR. AA536-
537, 759. The Corps continues to dredge, place revetment, and dispose of dredged
spoils. AA841, 946.
       Although the Corps prepared Environmental Assessments (“EAs”) for some
recent training structures, they tier off the obsolete 1976 EIS that the Corps



misstates the record; (2) only the first part of the sentence is correct because the IEPR Report
never states that “the 1976 EIS on the MMR was reviewed for this data and it was found to be
complete and suitable for SEIS review” or anything even remotely similar (AA993-996); (3) the
IEPR Panel was never asked to review the 1976 SEIS (AA997 (listing the precise questions
posed to the Panel)); (4) the 602-page 1976 EIS was not included among the 418 pages of
“Documents to be Reviewed” that Batelle provided the Panel, and was instead only to be made
available to the Panel as part of additional “Supplemental Information” (AA993). In finding no
NEPA violation, the District Court also relied on internal communications from Batelle
suggesting the Panel ultimately agreed that the Corps’ proposals to provide additional
information would rectify the FSEIS’ shortcomings, but again, this information needed to be in
the FSEIS. AA1006-1009). The Draft SEIS is dated October 28, 2016, 15 days after the Final
IEPR’s completion. AA982.

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acknowledged is no longer valid due to “significant new circumstances and
information on the potential impacts of the Regulating Works Project on the
resources, ecosystem, and human environment [that] warrant the preparation of”
an SEIS. AA 592-600. Additionally, these EAs are not detailed like an EIS is
required to be. 40 C.F.R. § 1501.3.


             7.    Scientific Studies Demonstrate Severely Declining
                   Ecological Conditions and the Project’s Role in Advancing
                   Those Declines
      It is well recognized that the Project has caused and continues to cause
significant environmental harm. For example, a 1999 Report issued by the Long
Term Resources Monitoring Program (“LTRMP”) identified the Project as a major
reason for this harm. AA363, 367, 369, 371-372. The LTRMP reports are based
on “one of the most extensive and comprehensive data sets on any large river
system in the world,” compiled by the Corps, FWS, U.S. Geological Survey
(USGS”), U.S. Environmental Protection Agency (“EPA”), and five states of the
Upper Mississippi River System (“UMRS”) – which includes the Middle
Mississippi. AA452. The LTRMP’s data have been examined in over 320
technical reports, 65 peer-reviewed publications, and publicly available
management tools and models. AA460. The 2008 LTRMP Report states the
Project’s activities are a “stressor” and “heavily influence” the condition of the
Upper Mississippi River, which is ecologically impaired in “all parts of the
system.” AA446, 452, 457, 462, 466.
      The 2008 Report concludes that “[t]he current condition of the [UMRS] is
heavily influenced by its agriculture-dominated basin and by the dams, channel

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training structures, dredging, and levees that regulate flow distribution.” AA446
(emphasis added). While improved waste treatment and land use have helped, the
Upper Mississippi remains highly degraded and faces substantial challenges
including: (1) high sedimentation rates in some backwaters and side channels; (2)
an altered hydrologic regime due to modifications of river channels, the
floodplain, and land use, and from dam operation; (3) loss of connection between
the floodplain and the river, particularly in the Upper Mississippi’s southern
reaches; (4) non-native species (e.g., Asian carp, zebra mussels); (5) high levels of
nutrients and suspended sediments; and (6) degradation of floodplain forest.
AA446.
      The 2008 Report explains that since the original EISs, scientific
understanding of the effects of the Project has evolved, and shows they have
caused severe ecological decline. AA458, 461, 469. Largely due to the Project,
      “[i]n all reaches, sedimentation has filled-in many backwaters, channels, and
      deep holes. In the lower reaches, sediments have completely filled the area
      between many wing dikes producing a narrower channel and new terrestrial
      habitat. Erosion has eliminated many islands, especially in impounded
      zones.”
AA449. Since the original EISs, hundreds of studies have shown that
sedimentation poses critical ecological problems for the river. AA359-361
(identifying 250+ sediment studies since 1976), 434-443 (referencing 100+ studies
between 1979 and 2005)].
      The 1999 LTRMP Report reveals that newly available scientific information
shows how different river training structures and O&M activities interact and

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impact the river’s hydrological processes. AA367 (data “now beginning to reveal”
how much habitat fish species need), 371 (“a growing body of ecological
information indicates how important . . . annual flood zone inundation is”), 373
(“[t]his report marks the first time broad ecological criteria have been used to
assess the reaches of the [UMRS]”).
      The Corps prepared reports in 1997 and 2016 that acknowledge the river
training structures are harming the river. In a 1997 report to Congress, the Corps
admitted that “conditions at even the most healthy sites within the [UMRS] are at
least partially artificial, non-sustainable, and in a recognized state of degradation.”
AA358. In 2016, the Corps advised Congress that “habitat within the Upper
Mississippi River is degrading at a rate of one to three percent annually. At these
rates, the ecosystem is declining one to four times faster than currently [sic]
restoration efforts.” AA621 (emphasis added).
      The scientific community now recognizes that river training structures
increase flood heights (“stages”), and thus the frequency and severity of flooding,
an impact ignored in the original EISs and buried in a scant few paragraphs in an
appendix to the FSEIS. Between 1986 and 2013, at least 48 studies attributed
increasing flood heights to the construction of instream structures, and at least 17
discussed this effect on the Mississippi River specifically. E.g. AA768-771. They
show that river training structures have significantly increased flood levels by up
to 15 feet in some locations and 6 to 10 feet over broad stretches where these
structures are prevalent. AA480-519, 613. The Corps’ 2014 EAs acknowledge
“significant new circumstances and information on the potential impacts of the
Regulating Works Project” that necessitated an SEIS. AA593-594 (citing newly

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listed endangered species, and new information “on the impacts of river training
structures and dredging on fish and macroinvertebrates” and “on the effects of
navigation on fish and wildlife resources”), 596-597, 599-600. The Netherlands is
now modifying river training structures on the Rhine River to reduce this impact.
AA568. But instead of reducing flooding by removing these channel-narrowing
structures, the Corps has decided to build more of them.
      The Project is harming the Upper Mississippi River’s fish and wildlife in
ways not discussed in the SEIS. Between 1976 and 1991, five of its species were
listed as threatened or endangered under the Endangered Species Act (“ESA”), 16
U.S.C. §1531 et seq. In May 2000, a FWS Biological Opinion concluded the
Project would jeopardize the continued existence of the pallid sturgeon and the
Higgins eye pearly mussel, cause incidental take of the least tern and the winged
mapleleaf mussel, and likely harm the bald eagle. E.g., AA 392-399, 402-404. In
2012, four mussel species that may inhabit the UMRS were listed. 77 Fed.Reg
8631 (Feb. 14, 2012); 77 Fed.Reg 14913 (March 13, 2012); AA887. Mussels are
an important food for mammals and fish, and filter the water, removing bacteria
and fungi. Id. They attach to the river bottom and stabilize the river bed. Id.
Algae and insect larvae inhabit mussel shells, and attract fish who feed on them.
Id. Dredging and disposal of spoils kill mussels, as do clearing riverbeds and
banks, and building channel structures. Id.
      Many other Upper Mississippi species are listed under individual states’
endangered species acts, including recent additions reflecting the declining
ecological conditions due to the Corps’ expanded use of training structures.
AA354-355, 521-522, 886, 1019-1020 (Wisconsin’s list includes 16 fish species,

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and mussels and turtles; Minnesota’s list includes 10 fish species, four turtles, and
many mussels). FWS’ 2000 Biological Opinion found the Project would “take”
the least tern because river training and flow control drastically decreased its
nesting and foraging habitat, diminished nutrient cycling, reduced populations of
small fish, and rendered least tern nesting sites more vulnerable to land-based
predators. AA383-390.
      Many bird species depend upon the Upper Mississippi and its shallow
waters and adjacent mud flats for foraging. AA 344, 523, 588-589, 601, 605. The
Project has reduced these areas and nearly eliminated seasonal inundation of the
floodplain, depriving birds of these essential habitats. E.g. AA390, 892. The
Project has reduced sandbars and beaches needed for nesting. AA588-589. The
Project’s dredging and channelization destroy habitat needed by many migratory
and resident shorebirds. AA401, 408.
      These impacts are exacerbated by global warming. AA432-433, 474-479.
             8.    Federal Laws Protecting Wetlands and Floodplains
                   Have Strengthened, Expanding the Corps’ Duties Here
      Since the original Project EISs, federal laws protecting wetlands and
floodplains have been strengthened substantially. In 1977, President Carter issued
Executive Order 11990, requiring federal agencies to minimize the destruction,
loss, or degradation of wetlands, and Executive Order 11988, directing them to
“reduce the risk of flood loss, to minimize the impact of floods on human safety,
health and welfare, and to restore and preserve the natural and beneficial values
served by floodplains.” 42 Fed.Reg. 26951, 26961 (May 24, 1977). In 1986,
Congress enacted specific mitigation requirements for the Corps’ civil works


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projects. WRDA 1986 (P.L. 99-662) § 906, 33 U.S.C. § 2283. It authorized the
Corps to modify existing water resources projects and operations to improve the
environment, and established the UMRS Environmental Management Program to
replace and enhance habitat and provide resource monitoring. Id. §§ 1103, 1135,
33 U.S.C. §§ 652, 2309a.
      The WRDA 1990 (P.L. 101-640) established “environmental protection as
one of the primary missions of the Corps of Engineers in planning, designing,
constructing, operating, and maintaining water resources projects.” 33 U.S.C. §
2316(a) (emphasis added). The Act further establishes “an interim goal of no
overall net loss of the Nation’s remaining wetlands base . . . and a long-term goal
to increase the quality and quantity of the Nation’s wetlands, as defined by acreage
and function.” 33 U.S.C. § 2317(a)(1).
      In 2007, Congress enacted strict mitigation requirements for Corps civil
works projects applicable to all proposals submitted to Congress or re-evaluated
under NEPA. WRDA 2007 (P.L. 110-114), § 2036, 33 U.S.C. § 2283(d). These
include enhanced mitigation requirements for the Clean Water Act’s section 404
regulatory program in 2008 (33 C.F.R. Parts 325 and 332, 40 C.F.R. Part 230).
Congress also established a new federal water policy requiring all Corps projects
to protect and restore the environment and avoid harming floodplains. WRDA of
2007 § 2031, 42 U.S.C. § 1962-3.
      Recognizing that significant efforts were needed to repair the Project’s
ecological damage, in 2007 Congress authorized $1.7 billion to “ensure the
environmental sustainability of the existing Upper Mississippi River and Illinois
Waterway System” and directed the Corps to modify “operation of the Upper

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Mississippi River and Illinois Waterway System to address the cumulative
environmental impacts of operation of the system and improve the ecological
integrity of the Upper Mississippi River.” WRDA of 2007 § 8004, 33 U.S.C. §
652 note.
      This action seeks to reconcile the growing conflict between scientific and
Congressional recognition of the need to better manage the Mississippi River and
the Project’s outdated and needlessly harmful river training structures.

                          SUMMARY OF ARGUMENT
      The Coalition raises two arguments:
      First, the District Court erred in ruling that the specific mitigation plan
requirements in WRDA 2007 (33 U.S.C. § 2283(d)) did not apply to this Project.
      Second, the District Court erred in ruling that the Corps’ failure to consider
a range of alternatives other than the binary choice between continuing to build
more river new training structures or not, based on an improperly narrow purpose
and need statement, and related failure to review activities and impacts not
assessed in the SEIS, complied with NEPA.
                            STANDARD OF REVIEW
      This Court “review[s] a summary judgment de novo.” Sauk Prairie
Conservation v. U.S. Dep’t of the Interior, 944 F.3d 664, 669 (7th Cir. 2019). The
APA governs review of the Corps’ compliance with WRDA and NEPA. Highway
1 Citizens Grp. v. Mineta, 349 F.3d 938, 952 (7th Cir. 2003). Under the APA, the
court “shall . . . hold unlawful and set aside agency action . . found to be – (A)
arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with


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law; . . . (C) in excess of statutory jurisdiction, authority, or limitations . . . ; [or]
(D) without observance of procedure required by law . . . .” 5 U.S.C. §706(2).
       The requirements of NEPA and the 2007 WRDA are addressed below.

                                     ARGUMENT
       I.     THE ORDER ERRONEOUSLY HOLDS THE CORPS’
              FAILURE TO PREPARE A SPECIFIC MITIGATION PLAN
              DID NOT VIOLATE THE WATER RESOURCES
              DEVELOPMENT ACT OF 2007.
              A.     INTRODUCTION
       Section 2283(d) of WRDA requires “specific mitigation plans” “for
damages to ecological resources, including terrestrial and aquatic resources, and
fish and wildlife losses,” resulting from federal water resources projects. 33
U.S.C. § 2283(d)(1). Between 1986 and 2007, this requirement applied only when
the Corps submitted a “proposal for the authorization of any water resources
project to the Congress in any report” in which the proposal – absent mitigation –
would result in a greater than “negligible adverse impact” on ecological resources
and wildlife. Id. (1986). In 2007, Congress amended section 2283(d)(1) to also
require mitigation plans in “any report” that “select[s] a project alternative,”
without limiting that requirement to reports to Congress. See Pub. L. No. 110-114,
§ 2036(a)(1). Congress did so by adding this bolded language:
       After November 17, 1986, the Secretary shall not submit any proposal for
       the authorization of any water resources project to Congress in any report,
       and shall not select a project alternative in any report, unless such report
       contains [either a mitigation plan or a determination that any adverse
       ecological effects would be negligible].

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Id. (emphasis added). Once triggered, section 2283 requires the Corps to provide
a detailed mitigation plan with many specified components. 33 U.S.C. §
2283(d)(3)(B)(i)-(vi).

      B.     THE WATER RESOURCES DEVELOPMENT ACT WAS
             AMENDED IN 2007 TO EXPAND THE DUTY TO PREPARE
             MITIGATION PLANS AS PART OF REPORTS SELECTING A
             PROJECT ALTERNATIVE.

      Congress’ 2007 amendment of section 2283(d) added an additional
category of reports for which a mitigation plan is required. Before 2007,
mitigation plans were only required for one category of reports: the “submi[ssion
of] any proposal for the authorization of any water resources project to the
Congress in any report.” 33 U.S.C. §2283(d)(1), enacted by P.L. 99-662, § 906.
In 2007, Congress added a second category: the “select[ion of] a project
alternative in any report.” 33 U.S.C. § 2283(d)(1), as amended by P.L. 110-114, §
2036(a)(1). Thus, Congress expanded the circumstances where the mitigation plan
is required to include “any report” that “selects an alternative,” whether or not the
report includes a proposal to Congress. Id.
      Because here the Corps issued a “report” which “selects a project
alternative” – the FSEIS, which selects the Project – and the Project will have
greater than “negligible adverse impact on ecological resources,” the Corps was
required to include a “specific plan to mitigate for damages to ecological resources
. . . created by such project.” Id.
       But the Order erroneously holds it need not. In reaching this decision, the
Order criticized the Coalition’s counsel for not including section 2283’s previous


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language, on the grounds its new language referenced the previous language with
the term “such” reports. Order 30. It described counsel’s argument as
“misleading” because it “omit[ted] the part of the statute [33 U.S.C. § 2283(d)]
that refers to such reports as those that are to be submitted as a proposal to
Congress.” Id. fn. 6 (emphasis added). The Order concluded that since the SEIS
is not a report to Congress, the Corps had no duty to provide a mitigation plan for
the Project’s acknowledged, adverse effects. Order 30-35.
      However, the Coalition’s counsel did not refer to this pre-WRDA 2007
category which is applicable only to reports to Congress, because the Coalition’s
claim was based on the new category of covered reports established in WRDA
2007 that requires a detailed mitigation plan for “any report” that selected an
alternative regardless of whether or not it was submitted to Congress. AA148.

      C.     THE ORDER CONTRADICTS AND NULLIFIES THE PLAIN
             LANGUAGE OF SECTION 2283(d)(1) BY INSERTING THE
             WORD “SUCH” INTO THAT PROVISION
      The Order conflicts with section 2283(d)(1)’s plain language by interpreting
the qualifying clause that establishes the second category of reports requiring a
mitigation plan – “and shall not select a project alternative in any report” – to
somehow include the term “such reports.” The Order states:
      “Specifically, NWF found it appropriate to omit the part of the statute that
      refers to such reports as those that are to be submitted as a proposal to
      Congress.”
Order 30 fn. 6 (emphasis added). But the second qualifying clause enacted in
WRDA 2007 does not use the term “such reports,” nor does it refer to the 1986


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clause that establishes the first category of reports requiring mitigation. The first
and second qualifying clauses have different terms. The operative terms in the
first (1986) qualifying clause are “submit any proposal for the authorization of any
water resources project to Congress in any report;” the operative terms in the
second (2007) qualifying clause are “select a project alternative in any report.”
33 U.S.C. § 2283(d)(1) (emphasis added).
      Because the text of section 2283(d) is clear, “that is the end of the matter[,]
for the court, as well as the agency, must give effect to the unambiguously
expressed intent of Congress.” Chevron, U.S.A., Inc. v. Nat. Res. Def. Council,
467 U.S. 837, 842-43 (1984).
      And, because the pertinent terms of the 2007 amendment – “select a project
alternative” and “in any report” – are not defined in the statute, they “will be
interpreted as taking their ordinary, contemporary, common meaning.” Perrin v.
United States, 444 U.S. 37, 42 (1979). Applying this rule, common usage and
dictionaries are customarily employed to establish this meaning. Sandifer v. U.S.
Steel Corp., 571 U.S. 220, 227-28 (2014) (“salesman” defined by dictionaries);
Taniguchi v. Kan Pacific Saipan, Ltd., 566 U.S. 560, 566-69 (2012); U.S. v.
Melvin, 948 F.3d 848, 852 (7th Cir. 2020); U.S. v. LaFaive, 618 F.3d 613, 616
(7th Cir. 2010) (looking to “common usage”).
      Applying this rule to section 2283(d)(1), the adjective “any” as the qualifier
in the phrase “and shall not select a project alternative in any report” means just
what it says. “Any” means “every” (i.e., every report that selects an alternative) or
“of whatever kind” (i.e., a report of whatever kind that selects an alternative).
Merriam-Webster.com Dictionary, Merriam-Webster,

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https://www.merriam-webster.com/dictionary/any (accessed 6 Oct, 2022)
(AA1067).
         Contrary to these controlling authorities, the Order does not give effect to
section 2283(d)’s plain language by examining the dictionary meaning, or the
common usage, of “select,” “any” and “report.” Instead, the Order interprets the
word “any” in the second qualifying clause of section 2283(d)(1) to mean “such.”
Order at 30, fn. 6. But these terms have very different meanings. “Such” is
narrow, because it refers to a particular, previously referenced, subset of the thing
that is referenced. “Any,” by contrast, is broad, as it imposes no limitation on the
thing that is referenced. As noted, it means “every” or “all.” U.S. v. Gonzales,
520 U.S. 1, 5 (1997) (“the word “any” has an expansive meaning”).
         Fundamentally, the District Court failed to reckon with the plain meaning of
the enormously expansive modifier “any” that Congress inserted before the word
“report.” As noted, where as here a term is not ambiguous, its plain meaning
controls. Even if the term “report” were ambiguous, it does not follow that the
term “any” is likewise ambiguous. It simply is not. The term “any” is, as
explained, as expansive and all-inclusive a modifier as the English language has to
offer.
         The Order greatly compounded this error by improperly reading the word
“such” into section 2283(d)(1)’s second qualifying clause. The word “such” is not
found in that clause. With this addition, the Order fundamentally changed the
second qualifying clause from language that broadened the scope of the mitigation
plan requirement to extend to “any” reports that selected a project alternative to a
different, narrow term – “such” – that nullified Congress’ use of the term “any,” a

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term that broadens the scope of this requirement.
      The Order’s interpretation also renders the 2007 language “select a project
alternative” meaningless surplusage, since under the 1986 language, reports that
selected a project alternative for a proposal to Congress already required
mitigation. Hence, it would not matter whether the report “select[ed] a project
alternative.” According to the Order, the 2007 clause only referred to, and thus
was subsumed within, the submission of any “reports . . . that are to be submitted
as a proposal to Congress.” Order 30 (original emphasis). However, since under
the 1986 language, reports that selected a project alternative and were submitted to
Congress already required mitigation, the Court’s Order renders the 2007 addition
of the term “select a project alternative” meaningless because it adds nothing to
the statutory regime.
      Because the Order directly conflicts with the 2007 amendment’s plain
language by substituting different language and rendering Congress’ actual words
meaningless surplusage, the Order should be reversed.
      D.     SECTION 2283’S PLAIN LANGUAGE IS REINFORCED
             BY THE RULES OF STATUTORY CONSTRUCTION.
      Because the language added by Congress in 2007 is unambiguous, “that is
the end of the matter[,] for the court, as well as the agency, must give effect to the
unambiguously expressed intent of Congress.” Chevron, 467 U.S. at 842-43.
Even if this language were ambiguous, and resort to rules of statutory construction
were warranted, the Order’s interpretation would still fail. Three rules of statutory
construction are pertinent, and all confirm that the Coalition’s interpretation of
section 2283(d) is correct.


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      The first rule of statutory interpretation is the “elementary rule of
construction that effect must be given, if possible, to every word, clause and
sentence of a statute.” 2A Singer, Sutherland Statutes and Statutory Construction,
§46.06 (7th Ed. (Nov. 2021) (AA1066). Under this canon, a statute should be
construed “to give effect to all its provisions, so that no part is inoperative or
superfluous, void or insignificant . . . .” Id. (emphasis added). Applying this rule
to section 2283(d)(1) requires that the second clause be given independent
meaning so that it is not rendered superfluous.
      But that is exactly what the Order does: it construes the second clause as
adding nothing to the first clause by interpreting both clauses as applying only to
reports to Congress. The Order gives no meaning or effect at all to the fact that
the second clause refers to a different category of reports, namely, those reports
that “select a project alternative.” Consequently, the Order’s interpretation of
section 2283(d)(1) renders language adopted by Congress in the second clause a
nullity, contrary to the foregoing “elementary” rule of statutory construction. The
only reason for Congress to write both separate clauses is to give each a different,
and independent, meaning. The Order contravenes this “elementary” rule.
      The second rule of construction is reddendo singula singulis, or the
“doctrine of the last antecedent.” As explained in United States v. Pritchett, 470
F.2d 455, 459 (D.C. Cir. 1972), under this interpretive canon, “[o]rdinarily,
qualifying phrases are to be applied to the words or phrase immediately preceding
and are not to be construed as extending to others more remote.” Id. (emphasis
added). There, as here, the question presented was whether qualifying phrases – in
that case, the phrase “when on duty,” applied to other groups named in a more

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remote phrase. Id. at 459. The court held that it should not. Id.
      So too here, the qualifying phrase used in the first clause of section
2283(d)(1) – “any proposal for the authorization of any water resources project to
Congress” – should not be applied to the second, more remote clause – “shall not
select a project alternative in any report.” Accord, Wilshire Westwood Assoc. v.
Atlantic Richfield, 881 F.2d 801, 804-805 (9th Cir. 1989) (applying the doctrine,
albeit differently from that urged by the plaintiffs).
      Applying this canon here, section 2283(d)(1) is to be interpreted as follows:
       (1) “After November 17, 1986, the Secretary shall not submit any proposal
      for the authorization of any water resources project to Congress in any
      report, unless such report contains. . . .”
                                         [and]
      (2) “After [the Amendment’s adoption in 2007], the Secretary . . . shall not
      select a project alternative in any report, unless such report contains . . . .”
Simply reading these independent clauses as they are written, without adding or
subtracting any words as the Order mistakenly does, gives full effect to both
qualifying clauses, allowing this section’s mitigation plan requirement to be
applied in the manner Congress’ language directs.
      The Order, by contrast, reads these independent qualifying clauses in
exactly the opposite manner from that required by this rule of statutory
construction. It modifies both clauses so they apply only to reports submitted to
Congress, even though only the first qualifying clause is expressly subject to this
qualification. The Order overlooks the different language in the second qualifying
clause, rendering that language mere surplusage, as there would be no need for

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Congress to separately refer to “any” reports that “select a project alternative” if
only (and “any”) reports requesting authorization from Congress triggered the
mitigation plan requirement.
      The third “cardinal principle of statutory construction is to save and not to
destroy.” U.S. v. Manasche, 348 U.S. 528, 538-39 (1955). When construing
statutes, courts must “give effect, if possible, to every clause and word of a
statute,” id., so that “no clause, sentence, or word” is rendered “superfluous, void,
or insignificant.” Kozak v. Hillsborough Cty., 644 F.3d 1347, 1349-50 (11th Cir.
2011). Ensuring that all statutory terms are given operative effect is particularly
important where, as here, Congress has specifically amended the provision at
issue. “When Congress alters the wording of a statute, we presume that Congress
intended a change in the law.” Hiivala v. Wood, 195 F.3d 1098, 1103 (9th Cir.
1999) (citing Brewster v. Gage, 280 U.S. 327, 337 (1930)).
      Because the District Court’s interpretation violates these “cardinal” rules of
statutory construction, it is erroneous and must be reversed.
             E.     SECTION 2283’S LEGISLATIVE HISTORY FURTHER
                    REINFORCES ITS PLAIN LANGUAGE.

      Section 2283(d)(1)’s language is unambiguous and thus resort to legislative
history unwarranted and impermissible. However, even if the language were
ambiguous and legislative history could be considered, that history supports the
Coalition’s interpretation, and refutes the Order’s. The second qualifying clause
of the operative sentence was added in 2007 so that the Corps’ duty to prepare
mitigation plans also applied when it selects a project alternative in any report, not
just when it submits a report to Congress. The Congressional Record of the

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Conference Report Debate over section 2036(a) of the WRDA of 2007 (which
enacted 33 U.S.C. section 2283(d)(1)) supports this interpretation. It states: “The
increased mitigation requirements apply to all new studies and any other project
that must be reevaluated for any reason.” Cong. Record, Water Resources
Development Act (“WRDA”) of 2007 – Conference Report, September 24, 2007,
at S11981 (AA445) (emphasis added). The colloquy between Senators Feingold,
Boxer and Reid makes the same point. Cong. Record, WRDA of 2007 – Senate,
May 15, 2007 at S6122 (AA444).
        F.   THE TERM “REPORTS” IS NOT A TERM OF ART
             RESERVED FOR REPORTS TO CONGRESS
      The Order is also premised on the erroneous supposition that “reports” is a
term of art in the context of WRDA that only refers to documents submitted to
Congress. Order 34. The Order cites, as an example, 33 U.S.C. section
2282a(f)(2), which refers to reports by the Chief of Engineers for certain water
resources projects. Id. The Court reasoned that because that particular reference
to the word “report” refers to a report that is submitted to Congress, that all
WRDA references to this term must likewise refer only to reports submitted to
Congress. Order 34-35. But this supposed syllogism makes no sense. Just
because some reports referenced in WRDA are reports to Congress does not mean
that all reports referenced in WRDA must be reports to Congress.
      The Corps itself does not subscribe to that interpretation of the term
“report” in its own water resource project regulations. The Corps’ implementing
regulations for water resources projects for such things as Everglades restoration,
flood control, and dam inspections, for example, also expressly use the word


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“report” to describe documents not submitted to Congress. See, e.g., 33 C.F.R. §
209.140 (detailing multiple “reports” the Corps must make to the Federal Energy
Regulatory Commission and/or otherwise keep private); id. § 230.15 (“District
commanders shall, upon request from interested agencies or the public, provide
reports on the progress and status of required mitigation and other provisions of
their decisions on Corps projects); id. § 385.12 (outlining pilot project design and
technical data reports that are not required to be submitted to Congress); id. §
385.26 (outlining project implementation reports to be approved by the Corps or
submitted to Congress).

      G.     THE COURT’S CASE AUTHORITY IS DISTINGUISHABLE.
      The Order relies upon Hammer v. U.S. Dept. of Health and Human Services,
905 F.3d 517 (7th Cir. 2018), for its position that the statute is not ambiguous.
Order 31. In Hammer, this Court engaged in the following statutory
interpretation:
      The language governing removal of ancillary proceedings states that
      “[i]f removal is sought for a proceeding described in the previous
      sentence, and there is no other basis of removal, only that proceeding
      may be removed to the district court.” 28 U.S.C. § 1442(d)(1)
      (emphasis added). If “only” some portion of a proceeding is
      removable, then that necessarily implies that other portions of that
      proceeding are not. See Doe [v. Office of Refugee Resettlement], 884
      F.3d [269,] 273 n.8 [(5th Cir 2018)]
Id., 905 F.3d at 528 (emphasis added). There, the statute referred explicitly to “the


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previous sentence” and plainly stated how Congress intended its language to
apply. Here, in contrast, the language of the second independent clause in section
2283(d)(1) does not refer back to the preceding clause, and instead presents two
independent clauses:
      After November 17, 1986, the Secretary shall not submit any
      proposal for the authorization of any water resources project to
      Congress in any report, and shall not select a project alternative in
      any report, unless such report contains . . . .
Id.
      The contrast between the two statutes could not be greater. Consequently,
the District Court’s reliance on Hammer is misplaced.
             H.     THE CORPS FAILED TO PERFORM ITS WRDA
                    MITIGATION PLAN DUTIES HERE.
      The District Court mistakenly did not reach the merits of Plaintiffs’ WRDA
claim. Order 30-35. This error was prejudicial because had the Court reached the
issue, the evidence showed that the Corps violated WRDA in two respects. First,
WRDA requires the Corps to prepare a detailed mitigation plan to reduce the
adverse impacts to ecological resources of any water resources project authorized
by the Army Secretary and for which construction commenced after November 17,
1986, unless the Secretary determines the project “will have negligible adverse
impact on ecological resources . . . without the implementation of mitigation
measures.” 33 U.S.C. §§ 2283(a)(1), 2283(d)(1). After 2007, the Corps “shall not
select a project alternative in any report, unless such report contains (A) a
recommendation with a specific plan to mitigate for damages to ecological


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resources, including terrestrial and aquatic resources, and fish and wildlife losses
created by such project, or (B) a determination by the Secretary [of the Army] that
such project will have negligible adverse impact on ecological resources and fish
and wildlife without the implementation of mitigation measures.” 33 U.S.C. §
2283(d)(1).
      Because the Corps has issued a “report” that “select[s] a project alternative”
– the Draft and Final SEISs – on the Project, and the Army Secretary has not
found the Project will have only “negligible adverse impact on ecological
resources and fish and wildlife without the implementation of mitigation
measures,” the Corps is required to mitigate the Project’s adverse impacts on those
“ecological resources and fish and wildlife.” Id. To ensure this happens, the
Corps is prohibited from selecting a “project alternative in any report” unless that
report includes a “specific plan to mitigate fish and wildlife losses.” Id.
Accordingly, the FSEIS must include a specific mitigation plan.
      The required plan must ensure that “impacts to bottomland hardwood
forests are mitigated in-kind, and other habitat types are mitigated to not less than
in-kind conditions, to the extent possible.” 33 U.S.C. § 2283(d)(1). The Corps
“shall select and design mitigation projects using a watershed approach to reflect
contemporary understanding of the science of mitigating the adverse
environmental impacts of water resources projects.” 33 U.S.C. § 2283(d)(2).
Mitigation plans “shall include, at a minimum,” six specific components, none of
which were included here. 33 U.S.C. § 2283(d)(3)(B) at (i) - (vi).
      The Corps’ mitigation plans must also comply with “the mitigation
standards and policies established pursuant to the regulatory programs

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administered” by the Corps. 33 U.S.C. § 2283(d)(3)(A). These standards impose
additional requirements for the detailed mitigation plan to ensure mitigation
implementation and ecological success. Congress further acknowledged the
importance of mitigation and the mitigation plan requirements by requiring the
Corps to consult yearly with the appropriate Federal resource agency on the status
of the mitigation efforts and compliance with the ecological success criteria
required by the mitigation plan. 33 U.S.C. § 2283(d)(4)(B).
      Contrary to WRDA, the FSEIS does not provide a specific plan to mitigate
the adverse impacts of the Project that satisfies the requirements discussed above,
including the requirement to monitor mitigation efforts until it can be
demonstrated that the mitigation has been ecologically successful. Instead it
simply provides a list of possible mitigation activities that “may include, but are
not limited to, the following: wing dike notching, dike removal, wing dike
creation using alternative designs (e.g., rootless dikes), use of rock piles, dredging
or material placement of sand, and other possible activities” and equivocates that
“[t]he ability to design for such habitat, including the associated costs, may need
to be carefully considered within the context of the impacts. Impacts will be
mitigated to the extent practicable.” AA651.
      The FSEIS asserts, incorrectly, that the Corps need not carry out the
foregoing required mitigation of the Project’s impacts on ecological resources
including fish and wildlife if funds are not available through the Project. AA654.
Not so. As discussed, mitigation is required as a matter of law for any elements of
the Project being carried out pursuant to “any report” where a project alternative
was selected. 33 U.S.C. § 2283(d). The Corps must mitigate the adverse impacts

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of the Project, and the cost of carrying out that mitigation is a Project cost. 33
U.S.C. § 2283(c); Corps’ Planning Guidance Notebook, Corps’ Engineer
Regulation 1105-2-100 (22 Apr 2000) at 2-5 (AA378). Mitigation costs are a
project cost and allocated to the appropriate project purpose (the purpose requiring
the mitigation) and cost-shared accordingly. Cost-shared mitigation costs include
the costs of lands, easements, rights-of-way, and relocations needed to implement
the mitigation. Id. at 2-12.
      Tacitly acknowledging that it failed to prepare a detailed mitigation plan as
required by 33 U.S.C. §§ 2283(a)(1) and (d)(1) to reduce the Project’s adverse
impacts to wildlife resources, the Corps also argued below not just that this duty
did not apply to the Project as discussed above, but also that section 2283(a)(1)
“applies only to projects that had not commenced construction on November 17,
1986,” and “the Project has been in construction for over 100 years.” AA212.
      This interpretation ignores this section’s language expressly including
projects authorized “before, on or after November 17, 1986,” which forecloses
exemption of previously authorized projects. It also ignores the fact that its
challenged approval occurred, and the approved construction will occur, more
than three decades after the November 17, 1986, trigger date. The Corps’ stated
purpose of its SEIS was to provide a factual basis for its decision whether –
decades after Congress’ trigger date – to approve a broad new phase of
construction to install “approximately 4.4 million tons (2.9 million cubic yards) or
rock” for hundreds more river training structures over the next several decades, or
instead, to “not construct[] any new river training structures.” AA1111-1112. If
deciding whether to approve this enormous project was not the purpose, then the

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entire exercise – preparation of the FSEIS, its circulation to the public, and the
submission of thousands of good faith comments by federal agencies, states,
organizations, and members of the public – was mere shadow play, rendering the
entire process a charade.
       The Corps argued in the alternative that it did prepare the required
mitigation plan, but as just explained, it never showed compliance with Congress’
very precise roadmap directing what this detailed plan must contain. AA212-215;
33 U.S.C. § 2283(d)(3)(B) at (i) - (vi). Section 2283, subsections (a)-(d) set forth
specific steps the Corps must take, and enumerate detailed components the
required plan must include. Because the Corps violated these WRDA mitigation
plan mandates, its approval of the Project must be set aside.

II.    THE ORDER ERRONEOUSLY HOLDS THE CORPS DID NOT
       VIOLATE NEPA
       The District Court ruled the Corps did not violate NEPA. Order 9-23. The
Court erred in two critical respects. First, it ruled that the Corps’ Purpose and
Need Statement was not unduly narrow. Order 12-16. Second, it ruled that the
Corps considered a reasonable range of alternatives. Order 16-20. These errors
are discussed below.
       A.      LEGAL BACKGROUND
            NEPA is this country’s “basic national charter for protection of the
environment.” 40 C.F.R. § 1500.1(a).2 Recognizing the profound impact of
human activity on the natural environment, 42 U.S.C. § 4331(a), NEPA requires

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  NEPA regulations were revised in 2020 and 2022. Plaintiffs properly cite the regulations in
place at the time of the Corps’ action, 2017. 40 C.F.R. § 1506.13 (2020).

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federal agencies to not only avoid, minimize or mitigate harm, but also to use “all
practicable means . . . to restore and enhance” the environment. 40 C.F.R. §
1500.1(f). Section 102(2) of the Act contains “‘action-forcing’ provisions to make
sure that federal agencies act according to the letter and spirit of the Act.” Id. §
1500.1(a). The broadest and most profound action-forcing requirement is the duty
to prepare a detailed environmental impact statement (“EIS”) for any major federal
action significantly affecting the quality of the human environment. 42 U.S.C. §
4332(2)(C).
      “The primary purpose of an environmental impact statement is to serve as
an action-forcing device to insure that the policies and goals defined in the Act are
infused into the ongoing programs and actions of the Federal Government.” 40
C.F.R. § 1502.1. The EIS “shall provide full and fair discussion of significant
environmental impacts and shall inform decision-makers and the public of the
reasonable alternatives which would avoid or minimize adverse impacts or
enhance the quality of the human environment.” Id. §§ 1502.1, 1500.1(b). The
EIS must “be supported by evidence that the agency has made the necessary
environmental analyses.” Id. It must be “analytic rather than encyclopedic.” Id. §
1502.2(a).
      These requirements are designed to ensure that NEPA’s environmental
protection policies are integrated into decision-making and provide a means by
which decision-makers and the public can evaluate the environmental impacts of
government proposals. Id. §§ 1501.1(a), 1502.1. To this end, NEPA requires
federal agencies to take a “hard look” at the potential direct, indirect and
cumulative impacts of its proposed actions. Pub. Emps. for Envtl. Resp. v. Hopper,

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827 F.3d 1077, 1083 (D.C. Cir. 2016); Wisconsin v. Weinberger, 745 F.2d 412,
416-428 (7th Cir. 1984); Swain v. Brinegar, 542 F.2d 364, 369-371 (7th Cir.
1976); Sherr v. Volpe, 466 F.2d 1027, 1031-1035 (7th Cir. 1972); Heartwood,
Inc. v. U.S. Forest Service, 73 F.Supp.2d 962, 977-980 (S.D. Ill. 1999).
      “The hallmarks of a ‘hard look’ are thorough investigation into
environmental impacts and forthright acknowledgment of potential environmental
harms.” Nat’l Audubon Soc’y v. U.S. Dep’t of Navy, 422 F.3d 174, 187 (4th Cir.
2005) (citing Robertson v. Methow Valley Citizens Council, 490 U.S.332, 350
(1989)); Nat. Res. Def. Council, Inc. v. Hodel, 865 F.2d 288, 296 (D.C. Cir. 1988).
To meet this standard, the agency must base its EIS analysis on, and present,
“quantified or detailed information.” Neighbors of Cuddy Mountain v. U. S.
Forest Service (“Cuddy Mountain”), 137 F.3d 1372, 1379 (9th Cir. 1998); Ecology
Center v. Castaneda, 574 F.3d 652, 666 (9th Cir. 2009) (requiring “quantified or
detailed data”); Natural Resources Defense Council v. Callaway, 524 F.2d 79, 87
(2d Cir. 1975). "General discussion of an environmental problem over a large
area" is not sufficient and cannot satisfy NEPA. South Fork Band Council v. U.S.
Dept. of Interior, 588 F.3d 718 (9th Cir. 2009); Cuddy Mountain, 137 F.3d 1379-
80. The reasons for this requirement are compelling:
      “A conclusory statement unsupported by empirical or experimental data,
      scientific authorities, or explanatory information of any kind not only fails
      to crystalize the issues, but affords no basis for a comparison of the
      problems involved with the proposed project and the difficulties involved in
      the alternatives."
Seattle Audubon Society v. Moseley, 798 F.Supp. 1473, 1479 (W.D. Wash. 1992),

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aff'd 998 F.2d (9th Cir. 1993); Klamath-Siskiyou Wildlands Ctr. v. BLM, 387 F.3d
989,995-996 (9th Cir. 2004) (“generalized or conclusory statements” in
cumulative effects analyses do not satisfy NEPA); Friends of the Earth v. Army
Corps of Engineers, 109 F.Supp. 2d 30, 38 (D.D.C. 2000) (the Corps must
“provide further analysis” to satisfy NEPA because it did not provide “the basis
for any” of its claims the project would have an insignificant impact); Sierra Club
v. Norton, 207 F.Supp.2d 1310, 1335 (S.D.Ala. 2002) (“Defendant’s argument in
this case would turn NEPA on its head, making ignorance into a powerful factor in
favor of immediate action where the agency lacks sufficient data to conclusively
show not only that proposed action would harm an endangered species, but that
the harm would prove to be ‘significant’”). 40 C.F.R. § 1502.24 ("Agencies shall
insure professional integrity, including scientific integrity, of the discussions and
analysis in environmental impact statements"); Earth Island Inst. v. U.S. Forest
Service, 442 F.3d 1147, 1159-60 (9th Cir. 2006) (quoting 40 C.F.R. §1502.24)
      The Corps’ FEIS fails these standards, as shown below. Therefore the
Corps’ approval of the Project must be vacated.
      B.     THE FSEIS’ PURPOSE AND NEED STATEMENT IS TOO
             NARROW.
      The Purpose and Need Statement is drawn so narrowly that only the Project
as proposed could qualify. Consequently, other, reasonable alternatives were
eliminated. AA847, 856, 859.
             1. The Purpose and Need Statement Improperly Limits
                Alternatives.
      A Purpose and Need Statement “delimit[s] the universe of the action’s
reasonable alternatives.” Citizens Against Burlington v. Busey (“Burlington”), 938

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F.2d 190, 195 (D.C. Cir. 1991); Wyoming v. U.S. Dep’t of Agric., 661 F.3d 1209,
1244 (10th Cir. 2011) (“how the agency defines the purpose of the proposed
action sets the contours for its exploration of available alternatives.”); Sierra Club
v. U.S. Dep’t of Transp., 310 F.Supp.2d 1168, 1192 (D. Nev. 2004) (citing City of
Carmel-By-The-Sea v. U.S. Dep’t of Transp., 123 F.3d 1142, 1155 (9th Cir. 1997))
(“only alternatives that accomplish the purposes of the proposed action are
considered reasonable, and only reasonable alternatives require detailed study”);
Webster v. U.S. Department of Agriculture, 685 F.3d 411, 422 (4th Cir. 2012).
      The Corps’ Purpose and Need Statement is narrowly drawn, stating:
      Congress provided the manner in which the navigation channel for the
      MMR should be obtained and maintained via the original Regulating Works
      Project authorization in 1910 and a modification to the authorization in
      1927. The purpose of this SEIS is not to consider a change to that
      authorization through reevaluating the need for the Regulating Works
      Project or the methods to be used to accomplish the goals of the project.
      Rather, this document analyzes the impacts of the Regulating Works Project
      as it is currently constructed, operated and maintained with current
      information that has become available since completion of the 1976 EIS.
AA840 (emphasis added). Because the FSEIS’ Purpose and Need Statement
assumes that only regulating works can achieve the Project’s purposes, and
declines to evaluate other “methods to . . . accomplish the goals of the project,”
the FSEIS only considered two options: the “The Continue Construction
Alternative (No Action),” and “The No New Construction Alternative.” AA840-
841, 847, 859. The “Continue Construction Alternative” is the Project (which is

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river training structures and other O&M (including revetment and dredging); the
“No New Construction Alternative” is the sole alternative (which is continued
O&M (including revetment and dredging) but no new river training structures).
Id. Thus, O&M is presumed to remain the same under either alternative.
      Constrained by this narrow direction, the FSEIS dismissed other reasonable
alternatives and essentially preordained approval of the Project, since it was the
only option that would allow the continued construction of river training
structures. AA859-860. This violates NEPA:
      “One obvious way for an agency to slip past the strictures of NEPA is
      to contrive a purpose so slender as to define competing “reasonable
      alternatives” out of consideration (and even out of existence). . . . If
      the agency constricts the definition of the project’s purpose and
      thereby excludes what truly are reasonable alternatives, the EIS
      cannot fulfill its role.”
Simmons v. United States Army Corps of Eng’rs, 120 F.3d 664, 666 (7th Cir.
1997); City of New York v. United States Dep’t of Transp., 715 F.2d 732, 743 (2d
Cir. 1983), cert. den. 456 U.S. 1005 (1984) (an agency may not “narrow the
objective of its action artificially and thereby circumvent the requirement that
relevant alternatives be considered”); Burlington, 938 F.2d at 196; Fuel Safe
Washington v. Fed. Energy Regulatory Comm’n, 389 F.3d 1313, 1324 (10th Cir.
2004); Friends of Southeast’s Future v. Morrison, 153 F.3d 1059, 1066 (9th Cir.
1998); City of Bridgeton v. FAA, 212 F.3d 448, 458 (8th Cir. 2000); National
Parks and Conservation Assn. v. Bureau of Land Management (“National Parks”),
606 F.3d 1058, 1070 (9th Cir. 2010); Environmental Defense Center v. Bureau of

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Ocean Energy Mgt., 36 F.4th 850, 876 (9th Cir. 2022).
      The FSEIS’ Purpose and Need Statement effectively mandates continuation
of river training structure and revetment construction to reduce dredging costs,
regardless of flood risks and ecological impacts, and disregards other less
impactful alternatives. AA847.
           2.   The Purpose and Need Statement Ignores Environmental
                Laws and the Project’s Own Authorizing Legislation.

      The FSEIS’ Purpose and Need Statement asserts that “[t]he long-term goal
of the Project, as authorized by Congress, is to obtain and maintain a navigation
channel and reduce federal expenditures by alleviating the amount of annual
maintenance dredging through the construction of regulating works.” AA839
(emphasis added), 847. This statement conflicts with the Corps’ “statutory
authorization to act,” which provides instead that once the river’s minimum width
is reached, the Project is to be maintained by dredging rather than by installing
more training structures that further narrow the river in violation of the minimum
widths Congress established.
      The Corps’ authority to construct and operate a project is limited by its
authorizing legislation, which typically adopts the recommendations (and any
limitations) set forth in the project’s Chief of Engineers Report. The Project was
authorized by the R&H Act of 1927 (ch. 47, 44 Stats. 1010), which stated: “The
existing project is hereby modified in accordance with the recommendations
submitted by the Chief of Engineers . . . dated December 17, 1926. . . .” The 1926
Chief of Engineers Report established the following explicit limitations on the
Project:

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 (1) Constriction of the channel through regulating works and revetment is
      limited to a conservative width of 2,500 to 2,000 feet at low water, as
      follows: 2,250 foot contraction at low water from River des Peres to Grays
      Point; 2,500 foot contraction at low water from Commerce to Commercial
      Point, and 2,000 foot contraction at low water from Commercial Point to
      Ohio River (AA334) (1926 Chief of Engineers Report – December 17,
      1926 (69th Congress, 2d Session, Doc. No. 9) (“1926 Chief’s Report”) at
      paragraph 57); and
 (2) That after completion of regulating works, dredging be continued, as
      needed, to maintain a channel 9 feet deep and 300 feet wide with requisite
      increased width at bends: Provided, That dredging of channels deeper than
      8 feet and wider than 200 feet be authorized only when the needs of
      navigation then existing are not adequately met by such 8-foot channel.
AA333-334, 340-341. The 1926 Chief’s Report explicitly rejected even narrower
contractions of the river:
      “The contraction to be brought about by the regulating work proposed
      is a conservative one. The practical result of these works will be
      merely narrowing the abnormally wide sections of the river to the
      present mean widths. The project of 1881 contemplated contraction
      to a width of about 2,500 feet. Through St. Louis Harbor a
      contraction to a low-water width of 1,500 feet to 1,800 feet has been
      carried out. The contraction proposed causes much less change in the
      original condition of the river than either the project of 1881 or the
      work in St. Louis Harbor. Calling for very little change from the

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      original condition of the river, the equilibrium of natural forces in the
      river will be but slightly disturbed.”
Id. (emphasis added).
      As a result, Congress established very specific limits on the Project – once
the river was contracted to a width of 2,000 to 2,500 feet (depending on location),
the Corps was to maintain the navigation channel only through dredging as
needed. Congress also expressly rejected more aggressive contraction plans. The
Corps’ unauthorized approval of the 2017 FSEIS that retains the 1,500 foot
contraction (AA814, 1010-1015) threatens environmental harm and flood stage
increases forbidden under the plan authorized by Congress.
      In sum, the Project exceeds the explicit limits of the 1927 authorization by:
(1) utilizing a 1,500 contraction plan; (2) building river training structures to
achieve the unauthorized 1,500 foot contraction plan; and (3) building river
training structures to reduce dredging costs associated with maintaining the
navigation channel even where both the authorized (2,000 to 2,500 foot) and
unauthorized (1,500 foot) contraction widths have been achieved.
      In preparing an EIS, “an agency should always consider the views of
Congress, expressed . . . in the agency’s statutory authorization to act.”
Burlington, 938 F.2d at 196. In addition to considering the foregoing direction
from 1927, the Corps was obliged to consider “other Congressional directives,”
such as the WRDA of 2007, which established a new policy directing that “all
water resources projects” should “protect[] and restor[e] the functions of natural
systems and mitigat[e] any unavoidable damage to natural systems.” Id.; 42
U.S.C. § 1962-3(a)(3). This law expands upon NEPA’s command that the

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“Federal Government . . . use all practicable means” to, among other things: (i)
“fulfill the responsibilities of each generation as trustee of the environment for
succeeding generations;” (ii) ensure “safe, healthful, productive” surroundings for
all Americans; and (iii) “attain the widest range of beneficial uses of the
environment without degradation, risk to health or safety, or other undesirable and
unintended consequences.” 42 U.S.C. § 4331(b).
      These imperatives are repeated in (1) the Corps’ longstanding civil works
mitigation requirements (33 U.S.C. § 2283(d)), (2) the WRDA of 1990 (33 U.S.C.
§ 2316) that changed the Corps’ mission to “include environmental protection as
one of the primary missions of the Corps of Engineers in planning, designing,
constructing, operating, and maintaining water resources projects,” and (3) the
Fish and Wildlife Coordination Act, which directs that “wildlife conservation shall
receive equal consideration and be coordinated with other features of water-
resource development,” and that such development prevent harm to, and improve
the health of, fish and wildlife. 16 U.S.C. §§ 661, 662. The Corps’ regulations
likewise command:
      “Enhancement of the environment is an objective of Federal water
      resource programs to be considered in the planning, design,
      construction, and operation and maintenance of projects.
      Opportunities for enhancement of the environment are sought through
      each of the above phases of project development. Specific
      considerations may include, but are not limited to: actions to
      preserve or enhance critical habitat for fish and wildlife, maintain or
      enhance water quality [and] improve streamflow; preservation and

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      restoration of certain cultural resources; and the preservation or
      creation of wetlands.”
33 C.F.R. § 236.4 (2017) (emphasis added). The FSEIS fails to incorporate these
critically important Congressional directives, and longstanding Corps policy
objectives, into the Project’s purpose as required by law. AA843-847, 857-859;
Burlington, 938 F.2d at 196; National Parks, 606 F.3d at 1070-1072.
         3.     The Purpose and Need Statement Fails to Demonstrate Project
                Need
      The Purpose and “Need” Statement must by definition, demonstrate a public
“need” for new river training structures and additional revetment, as opposed to
other channel-maintenance options, since the current dredging regime already
maintains the channel. National Parks, 606 F.3d at 1071; AA855-858. The
FSEIS fails to do so. Rather, the Corps admits that its actual purpose is, instead,
to reduce dredging costs. AA847.
      But Congress has not identified reduced dredging costs as an objective of
the Project. Moreover, even if this were a Congressionally-recognized purpose of
the Project, the Corps provides no showing that construction of these structures
would cost less than dredging the channel, let alone that the cost of constructing
these structures would be less than the costs of dredging in combination with the
very significant costs of the increased flooding and ecological harms the structures
cause. AA656-668, 840-841, 848-853.
      Nor does the FSEIS examine the future costs with, and without, new
training structures, nor clearly identify those areas needing continued dredging
even with new training structures. AA848-853. The FSEIS also fails to provide


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critical information on sediment loads and sediment transport in the MMR,
precluding the public from assessing the need for more training structures. These
omissions violate NEPA. Bob Marshall Alliance v. Hodel, 852 F.2d 1223, 1228
(9th Cir. 1988) (NEPA requires an “informed and meaningful” consideration of
alternatives).
       C.      THE FSEIS IGNORES REASONABLE ALTERNATIVES
       An EIS must rigorously explore all reasonable alternatives that may achieve
the primary objective and are not remote or speculative; thus, a viable but
unexamined alternative renders an EIS inadequate. Muckleshoot Indian Tribe v.
U.S. Forest Service (“Muckleshoot”), 177 F.3d 800, 810, 814 (9th Cir. 1999);
Natural Resources Defense Council, Inc. v. Morton (“NRDC”), 458 F.2d 827, 836
(D.C. Cir. 1972). An alternative may not be disregarded merely because it does
not offer a complete solution to the problem, nor because it would require
Congressional action. To the contrary, the EIS must “[i]nclude reasonable
alternatives not within the jurisdiction of the lead agency.”3 Failure to examine an
appropriate range of alternatives renders an alternatives analysis inadequate.
Resources Ltd., Inc. v. Robertson (“Resources Ltd.”), 35 F.3d 1300, 1307 (9th Cir.
1993).
       The greater the impacts and scope of the proposed action, the greater the



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  40 C.F.R. § 1502.14(c) (2017); NRDC, 458 F.2d at 834-836 (alternative energy sources had to
be discussed, despite legislation finding urgent need for offshore leasing and mandating import
quotas; agency had to consider reasonable alternatives to offshore oil lease which might reduce
need for offshore exploration, even though that would require new legislation); Environmental
Defense Fund v. Froehlke, 473 F.2d 346, 351 (8th Cir. 1974) (acquisition of land to mitigate loss
of land from river channel project must be considered even though it would require legislation).

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range of alternatives that must be considered.4 The range is not sufficient if each
alternative has a similar end result. State of California v. Block, 690 F.2d 753, 767
(9th Cir. 1982) (range of alternatives inadequate where all eight alternatives
developed a substantial portion of wilderness).
       The FSEIS fails to “[r]igorously explore and objectively evaluate all
reasonable alternatives,” 40 C.F.R. § 1502.14 (2017), and provide a “thorough
consideration of all appropriate methods of accomplishing the aim of the action”
and an “intense consideration of other more ecologically sound courses of action.”
Environmental Defense Fund v. Corps of Engineers, 492 F.2d 1123, 1135 (5th Cir.
1974). Rigorous and objective evaluation of all reasonable alternatives is the
“heart of the environmental impact statement,” and “must be undertaken in good
faith” rather than “to justify a decision already reached.” 40 C.F.R. § 1502.14
(2017); Citizens Against Toxic Sprays v. Berglund, 428 F.Supp. 908, 933 (D.Or.
1977).
       The FSEIS’ alternatives analysis is inadequate in four principal respects:
(1) it limits alternatives to just one binary choice between two options: the Project
as proposed (i.e., the status quo), and the Project without new training structures
(i.e., all aspects of the status quo project except new training structure
construction) (AA840-841); (2) it refuses to consider alternatives requiring
additional Congressional authorization (AA859-860); (3) it fails to consider
alternatives that would address significant Project impacts by reducing flood risks
and restoring ecological health; and (4) it fails to provide an informed and

4
   Alaska Wilderness Recreation and Tourism v. Morrison (“Alaska Wilderness”), 67 F.3d 723,
729 (9th Cir. 1995); see Sierra Club v. Espy, 38 F.3d 792, 803 (5th Cir. 1994).

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meaningful consideration of alternatives, including by failing to disclose the full
array of ecological impacts from all activities that would be carried out under the
alternatives.
           1.      The FSEIS Allows Only a Binary Choice Between the Project
                   and the Project Without New Training Structures.
        The FSEIS examines only two alternatives, the Continue Construction
Alternative and the No New Construction Alternative. AA859-871. This violates
NEPA’s mandate to evaluate an appropriate range of alternatives for several
reasons. First, as shown below there are other clearly reasonable alternatives that
should be examined because they achieve the Project’s purpose while also
reducing the Project’s significant impacts.
        Second, the scope and impacts of the Project mandate evaluation of a much
broader range of alternatives than those that existed when Congress authorized the
Project in 1927 based on a plan adopted in 1881 and updated in 1910. AA863-
864, 888-980; Resources Ltd., 35 F.3d at 1307. As noted, the greater the impacts
and scope of the proposed action, the greater the range of alternatives that must be
considered.5
        Both the scope and the impacts of the Project are far-reaching. The
Project’s new structures would install “4.4 million tons of rock” and its dredging
would remove 2.4 million cubic yards of sediment per year. AA871. The Project
is causing profound, direct, indirect, and cumulative impacts to 195 miles of the
Mississippi River and its floodplain, and the hundreds of species that rely on that
vital riverine and riparian habitat. AA382.


5
    Alaska Wilderness, 67 F.3d at 729; Sierra Club v. Espy, 38 F.3d at 803.

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      The FSEIS admits the Project will destroy 1,100 acres of vital main channel
border habitat, among other ecological harms. AA864. A 2016 study shows the
narrowing caused by the Project’s training structures and levees has fundamentally
changed how the MMR responds to flood events. AA984. The Project’s broad
scope, duration and impacts dictate evaluation of a far greater range of alternatives
than the binary choice in the FSEIS. Save Our Cumberland Mountains v.
Kempthorne (“Cumberland”), 453 F.3d 334, 345 (6th Cir. 2006).
      In addition, the FSEIS should have examined an alternative that would
remove some of the existing structures that the FSEIS admits are causing harm to
habitat. AA864, 984. “‘The consideration of alternatives requirement . . .
guarantee[s] that agency decisionmakers have before them and take into proper
account all possible approaches to a particular project (including total
abandonment of the project) which would alter the environmental impact and the
cost-benefit balance.’” Pit River Tribe v. U.S. Forest Service, 469 F.3d 768, 785
(9th Cir. 2006) (quoting Bob Marshall Alliance, 852 F.2d at 1228 (emphasis in
original)).
      The District Court mistakenly concluded that the Corps satisfied NEPA by
simply acknowledging and rejecting the Coalition’s request for consideration of
this alternative. Order 18-19. But NEPA has a separate requirement that the
agency “study, develop and describe” alternatives to the project. “NEPA’s
requirement that alternatives be studied, developed, and described both guides the
substance of environmental decisionmaking and provides evidence that the
mandated decisionmaking process has actually taken place.” Bob Marshall
Alliance, 852 F.2d at 1228. This duty is not satisfied by merely responding – and

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rejecting – the public’s requests for this required discussion. Southeast Alaska
Conservation Council v. Fed. Hwy. Admin., 649 F.3d 1050, 1057-1059 (9th Cir.
2011) (EIS addressing public’s proposed alternative in response to comments, and
not in the discussion of alternatives and their impacts, fails to provide 40 C.F.R. §
1502.14’s required level of detail); Bob Marshall Alliance, 852 F.2d at 1228-1229
(“Informed and meaningful consideration of alternatives . . . is . . . an integral part
of the statutory scheme” independent of the requirement to prepare an EIS);
Muckleshoot, 177 F.3d at 813 (agency’s failure to consider “an alternative . . .
more consistent with its basic policy objectives” than the ones detailed in the EIS
violated NEPA); Environmental Defense Center v. Bureau of Ocean Energy Mgt.,
36 F.4th at 877 (dismissing suggested reasonable alternatives in comment
responses in appendix failed to “give full and meaningful consideration to all
reasonable alternatives”).
           2.     The FSEIS Ignores Alternatives Requiring Congressional
                  Authorization.
       An EIS must “[i]nclude reasonable alternatives not within the jurisdiction of
the lead agency.”6 This means an alternative may not be disregarded merely
because it would require additional Congressional authorization. Id. Nor may an
alternative be disregarded because it does not offer a complete solution to the
problem. NRDC, 458 F.2d at 836. A viable but unexamined alternative renders an
EIS inadequate. Muckleshoot, 177 F.3d at 810, 814.

6
   40 C.F.R. § 1502.14(c)(2017); NRDC, 458 F.2d at 837 (“NEPA was intended to provide a
basis for consideration and choice by the decision-makers in the legislative as well as the
executive branch.”); Environmental Defense Fund v. Froehlke, 473 F.2d at 351 (acquisition of
land to mitigate loss of land from river channel project must be considered even though it would
require legislative action).

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       Contrary to this settled law, the FSEIS declined to consider alternatives that
would potentially require additional Congressional action, including: (1) an
alternative that removes or modifies existing river training structures in the Project
area to restore backwater, side channel, and braided river habitat; and reduce flood
risks even though the FSEIS admits that this alternative need not adversely affect
navigation (AA939-940); (2) an alternative that maintains the authorized
navigation channel by other means, including alternative upstream water level
management regimes, alternative dredging and dredged spoil disposal activities,
and the development of new, innovative techniques; and (3) an alternative that
proposes ecological restoration and fish and wildlife conservation as authorized
Project Purposes, and evaluates restoration activities that would improve the
ecological health of the Mississippi River, its floodplain, and the fish and wildlife
they support. AA669-673, 693-694, 778-779, 859-864.
       Despite NEPA’s mandate requiring a reasonable range of alternatives, and
the compelling need to identify and evaluate less environmentally harmful
alternatives, the FSEIS declines to consider any alternatives that the Corps
currently deems outside its existing authorization, or that involve methods not
specifically identified by Congress over a century ago. AA840, 857, 859.
       Limiting the public’s choice to either the Project, or the Project without
training structures, violates NEPA. NEPA “prevents federal agencies from
effectively reducing the discussion of environmentally sound alternatives to a
binary choice between granting or denying an application.”7 The District Court
7
   Cumberland, 453 F.3d at 345, citing Davis v. Mineta, 302 F.3d 1104, 1122 (10th Cir. 2002)
(“[O]nly two alternatives were studied in detail: the no build alternative, and the preferred
alternative. [The agency] acted arbitrarily and capriciously in approving an [environmental

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ruled to the contrary that “nothing in Muckleshoot suggests that for each
alternative an agency must be declined congressional authority before it may
discard it as being unreasonable.” Order 19-20. But the alternatives proposed by
the Coalition were not unreasonable.
           3.     The FSEIS Fails to Evaluate a Reasonable Range of Effective
                  Alternatives.
       The FSEIS fails to evaluate clearly reasonable alternatives that achieve the
project purpose while also reducing the Project’s significant impacts, including the
alternatives listed in section 2 above and similar ones.8 AA669-673, 693-694,
778-779, 859-864. The Coalition requested consideration of each, to no avail.
AA690-697.
       As noted, the FSEIS refused to consider these alternatives, claiming they
were outside existing Congressional authorization. AA670-673, 784-786. The
Corps insisted it had to use the outdated techniques for carrying out the Project
that Congress originally approved 110 years ago based on a Corps plan developed
139 years ago. AA802-834, 840, 845, 857, 860. The Corps’ refusal to examine
any alternatives it claims to be outside its existing authorization, or different from
those identified by Congress more than 100 years ago, renders the FSEIS
inadequate as a matter of law. Common sense and modern science also clearly
dictate a fundamentally different approach to evaluating alternatives.


assessment] that does not provide an adequate discussion of [p]roject alternatives.”); Colorado
Envtl. Coal. v. Dombeck, 185 F.3d 1162, 1174 (10th Cir. 1999) (NEPA forbids “agencies from
defining the objectives of their actions in terms so unreasonably narrow they can be
accomplished by only one alternative.”).
8
  The Coalition requested these alternatives, and a National Academy of Sciences study, in their
2014 DSEIS Scoping Comments (AA772-773) and 2017 DSEIS Comments (AA1021-1039).

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          4.    The FSEIS Fails to Provide Informed Consideration of
                Alternatives.
      NEPA requires an “informed and meaningful” consideration of alternatives:
      “NEPA’s requirement that alternatives be studied, developed, and
      described both guides the substance of environmental decisionmaking
      and provides evidence that the mandated decisionmaking process has
      actually taken place. [Citation.] Informed and meaningful
      consideration of alternatives – including the no action alternative – is
      thus an integral part of the statutory scheme.”
Bob Marshall Alliance v Hodel, 852 F.2d at 1228.
      The FSEIS fails to satisfy the “informed and meaningful” review
requirement for the two alternatives that it does evaluate because it fails to provide
meaningful information on the actions that will be carried out under those
alternatives. AA864-870. Neither alternative provides criteria for the triggering
of future dredging, revetment, or river training structure construction. AA859-
866. Neither alternative provides information concerning the likely locations of
these future actions. Id. Neither alternative adequately discloses and assesses the
economic costs or environmental impacts of the likely future actions. Id. The
Continue Construction Alternative does not provide any information on the types
of river training structures that will be used, nor disclose and describe the linear
extent of river training structures that will be constructed. AA863-865. Yet the
total linear feet of river training structures has a significant impact on flood
heights, as discussed.
      Critically, the FSEIS fails to meaningfully consider alternatives because it


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ignores the direct, indirect, and cumulative environmental impacts of the flow
regimes that the different alternatives would create, the conservation potential of
those alternatives, and the means to mitigate their adverse environmental impacts.
AA 625-646, 670-673, 676-736, 784-790, 878-884, 889-890, 928-931, 938; 40
C.F.R. § 1502.16 (2017).
      The FSEIS also fails to provide “informed and meaningful” review of the
two options it does evaluate because that analysis was conducted with an
improperly narrow project purpose. Indeed, this improperly narrow project
purpose of reducing the costs of dredging by building more river training
structures appears to be the determining factor in the FSEIS’ selection of the
Continue Construction Alternative even though that alternative will, according to
the FSEIS, cause more environmental harm than the No New Construction
Alternative. Compare AA868 (The No New Construction Alternative “[d]oes not
achieve Congressionally authorized project objective of reducing federal
expenditures by reducing dredging to a minimum”) with AA870 (“Based on the
Project’s Congressional authority and the continued benefit of the remaining
construction, the Continue Construction Alternative with the described potential
compensatory mitigation is the Preferred Alternative.”).




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                                CONCLUSION
     For these reasons, the District Court erred in ruling that the Corps did not
violate WRDA and NEPA. Therefore this Court should reverse its Judgment.


Dated: October 12, 2022               Respectfully submitted,
                                      s/ Stephan C. Volker
                                      STEPHAN C. VOLKER
                                      ALEXIS E. KRIEG
                                      STEPHANIE L. CLARKE




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         CERTIFICATE OF COMPLIANCE WITH FRAP 32(a)(7),
               FRAP 32(G), AND CIRCUIT RULE 32(C)
      The undersigned, counsel of record for Plaintiffs-Appellants National
Wildlife Federation, et al., furnishes the following in compliance with FRAP Rule
32(a)(7)(B)(i) and Circuit Rule 32(c) for a brief produced with a proportionally
spaced 14-point font, Times New Roman. The length of this brief is 13,769
words, excluding the parts of the document exempted by FRAP Rule 32(f), as
counted by WordPerfect X7.
Dated: October 12, 2022                 s/ Stephan C. Volker
                                        Attorney for Appellants National Wildlife
                                        Federation, et al.,
                                        LAW OFFICES OF
                                        STEPHAN C. VOLKER
                                        1633 University Avenue
                                        Berkeley, California 94703
                                        Tel: (510) 496-0600


                       CIRCUIT RULE 30(d) STATEMENT
      Pursuant to Circuit Rule 30(d), I certify that Appellants’ Required Short
Appendix contains all material required by Circuit Rule 30(a) and that Appellants’
Separate Appendix contains all material required by Circuit Rule 30(b).

Dated: October 12, 2022                 s/ Stephan C. Volker
                                        Attorney for Appellants National Wildlife
                                        Federation, et al.,
                                        LAW OFFICES OF
                                        STEPHAN C. VOLKER
                                        1633 University Avenue
                                        Berkeley, California 94703
                                        Tel: (510) 496-0600




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            APPELLANTS’ REQUIRED SHORT APPENDIX
  Date                         Title                            Dkt    RSA RSA
                                                                       Start End
1/22/2022     Memorandum and Order (on Cross                    55       1        40
              Motions for Summary Judgment)
1/25/2022     Judgment in a Civil Action                        56       41       41




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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

 NATIONAL WILDLIFE FEDERATION, AMERICAN
 RIVERS, PRAIRIE RIVERS NETWORK, MISSOURI
 COALITION FOR THE ENVIRONMENT, and
 GREAT RIVERS HABITAT ALLIANCE,

                                   Plaintiffs,

 vs.                                                      Case No. 20-cv-00443-DWD

 UNITED STATES ARMY CORPS OF ENGINEERS,
 LT. GENERAL SCOTT A SPELLMON, Commanding
 General and Chief of Engineers, MAJOR GENERAL
 DIANA M. HOLLAND, Commander of the
 Mississippi Valley Division of the Army Corps of
 Engineers,

                                   Defendants.

                           MEMORANDUM AND ORDER

DUGAN, District Judge:



Judgment (Doc. 34) and the Cross Motion for Summary Judgment filed by the

Defendants. (Doc. 40). Plaintiffs consist of organizations dedicated to protecting the

environment. (They are herein referred to co

review of the United



Supplemental Environmental Impa



                                            1




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                                                                       vities. (Doc. 34-1).

Defendants in contrast seek determination that they have fully complied with the

requirements of a variety of laws governing the Corp

management and training of the Middle


                                  STANDARD OF REVIEW

       This matter was instituted with the Pl                          erein they seek on

administrative review a declaratory judg

FSEIS in 2017 was capricious and not in accordance with applicable laws. (Doc. 1, P. 94).

Plaintiffs also seek injunctive relief. The parties have filed and briefed their respective

motion for summary judgement. No party suggests that there are any remaining issues

of material fact.

       While a motion for summary judgment is a proper vehicle to bring to the court a

factually undisputed controversy, the standard under Federal Rule of Civil Procedure 56

is not the same as that to be applied on administrative review. This Court's review of the

                            tional Environmental Policy Act of 1969, 42 U.S.C. § 4321, et.

seq.                                                                            Highway J

Citizens Grp. v. Mineta, 349 F.3d 938, 952 (7th Cir. 2003). The APA instructs courts to set

                                           capricious, an abuse of discretion, or otherwise



                                                 is standard, although a reviewing court's


                                             2




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                                ful ... the ultimate standard of review is a

Mineta, 349 F.3d at 952 (citations and quotations omitted).

       A Court reviewing agency action is concerned primarily with whether the

agency's decision was based on a consideration of the relevant factors and whether the

agency has made a clear error in judgment. Id                                  cy considers the

proper factors and makes a factual determination on whether the environmental impacts

are significant or not, that decision implicates substantial agency expertise and is entitled

               Id. at 953. In the context of NEPA, arbitrary and capricious review prohibits



                              Id. (citing Kleppe v. Sierra Club, 427 U.S. 390, 410 n. 21, (1976)).

                                ary and capricious standard, this Court's only role is to

ensure that the agency has taken a hard                                               Env't L. &

Pol'y Ctr. v. U.S. Nuclear Regul. Comm'n, 470 F.3d 676, 682 (7th Cir. 2006)

                               BACKGROUND AND HISTORY




                                             continued commercial navigability and the

preservation of the regional ecological systems, associated resources, and wildlife, are

largely undisputed by the parties.

       The MMR consists of a 195-mile length of river between the Missouri River just

above St. Louis, and its confluence with the Ohio River at the southern tip of Illinois.

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(Doc. 34-1, P. 1). In its entirety, the Mississippi River Watershed drains 1,245,000 square



of thirty-two states and two Canadian provinces. (Doc. 34-1, P.5). It supports vast tracts

of bottomland forest, wetlands, and aquatic habitats, and more than 300 species of birds,

57 species of mammals, 45 species of amphibians and reptiles, and 150 species of fish. Id.

(AR 27950). The river supplies water to nearby and even somewhat distant populations,

and, importantly, provides for a highly utilized means of commerce. Myriad

communities of citizens along and nearby its flow depend on, not just the preservation of

its ecological diversity and splendor, but al

continuation and even expansion of commerce.

       In addition to its characteristic meande

width varied significantly from as much as 7,000 feet to as little as 4,000 feet, and the

channel ranged width from 3,600 feet to as narrow as 125 feet, with depths varying

between 3 to 7 feet. (See AR 2297-2329, Exhibit K, for historical synopsis of the uses and

difficulty with training of the River during the 19th Century). Not that long ago, parts of

the MMR remained very shallow and wide, and not fit to move deep draft and cargo-

ladened vessels. To utilize the River, some level of control of it became necessary. But the

MMR is not entirely manageable and seems to resist its management in places. The River,



from an abundance of water, shallows from a want of water, and through erosion and

accretion, changes its course and depths from the force of water.

                                             4




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          Some might suggest that complete management of such a natural force is a bit of

                                    effort is viewed by Congress as necessary, and, beginning

in 1824, it authorized the Corps to make improvements to the Missi

purpose of obtaining and maintaining an inland navigation channel for waterway

commercial transportation throughout the United St

Mississippi River Commission, organized by an act of Congress, had formulated a plan

to maintain navigability of the River by use                             ction, thus compelling

the river to scour out its bed, this process

According to the Corps, by 1910, Congress authorized the ultimate plan for how the

navigation channel should be obtained and maintained for a majority of the MMR and

eventually established the current navigation channel dimensions of 9 feet deep and not

less than 300 feet wide, with additional width in the bends as required in 1927. (AR 944-

943). The consensus in the first decades of the 20th Century was to further its commitment

to dredging as the primary tool to maintain suitable channel dimensions. 1

          Dredging proved to be less effective than hoped for, in part, due to the deposits of

additional sediments from the Missouri confluence just north of St. Louis City. According



of Engineers to study the problem and determine the best way to maintain a navigable




1   The Corps believes that Congress directed that th

(AR 2301).
                                                    5




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channel of suitable dimension.                                 an eight-foot channel would

be sufficient for the MMR given the current amount of commerce, and such a depth

would be best obtained and maintained through construction of permanent

improvements, with dredging being used as a supplement to perm

(App. K-6; AR 2302). Congress authorized the                        ndations in the Rivers

and Harbors Act dated June 26, 1910, which restored the 1881 MMR navigation channel

project to be obtained and maintained through bank stabilization, the construction of

regulating works, and rock removal. Id. But demands placed upon the River by

commercial traffic sharply declined in the second decade of the 20 th Century due to higher

use of railways and the Unit                                World War I which caused a

reduction in the availability of men to manage loading and unloading at the docks along

the River. As a result, Congress reduced funding to a point that construction of new

works halted, and even existing structures began to degrade for want of attention and

repairs.

       However, in 1924 the bourgeoning navigability issues with the River began

worsening and this came to the attention of Congress which requested the Board of

Engineers for Rivers and Harbors study the feasibility of creating and maintaining a nine-

foot deep and 300-foot wide channel below St. Louis. In 1926, the Board advised



and meager appropriatio



                                             6




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improvements, navigation could only be mainta

to maintain a dredging fleet sufficient in number of dredges to safeguard the required

                    Id. The engineer who authored that report, Maj. Gotwals, stated that



regulating works have provided an adequate channel where no dredging is now

                                                                     have resulted from the

work already done, it is essential that additional regulating works and bank protection

be carried to a point where minimum dredging is required and a stable channel is

                         Id.

regulating works and revetment be completed and that dredging, which affords only

temporary relief, be resorted to only when and to the extent that the needs of navigation

                       Id.

      Support for the construction of regulating works in the MMR waxed and waned,

tending to reflect economic concerns and realities more than beliefs as to the efficacy of

the Project. During the depression, and into the 1940s, efforts to train and dominate the

River expanded significantly, in some measure due to the efforts of Congress to stimulate

a stagnate economy. However, in the 1950s, regulating works construction came to a

complete halt, resulting in uncompleted work and unrepaired structures. By the early

1960s, growing environmental awareness and the need to temper progress with

consideration, mitigation and, where necessary, avoidance of actual and potential harm



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to affected ecosystems made its way to those in Congress, resulting in the passing of

landmark legislation for the protection of our environment in 1969.


                      THE NATIONAL ENVIRONMENTAL POLICY ACT

        With the passage of The National Environmental Policy Act of 1969, 42 U.S.C. §

4321, et. seq.                                       ntral and unique environmental policy

                                                  Simmons v. U.S. Army Corps of Engineers,

                                                  Federal actions significantly affecting the

quality of the human enviro

articulate why they have settled upon a particular plan and what environmental harms

(or benefits) their choice entails. Id. More specifically, the responsible official within the

agency must provide a detailed statement reflecting (i) the environmental impact of the

proposed action, (ii) any adverse environmental effects which cannot be avoided should

the proposal be implemented, (iii) alternatives to the proposed action, (iv) the

relationship between local short-term uses of man's environment and the maintenance

and enhancement of long-term productivity, and (v) any irreversible and irretrievable

commitments of resources which would be involved in the proposed action should it be

implemented. 42 U.S.C.A. § 4332(2)(C).

        The primary purpose of an environmental impact statement required by § 4332 is

to ensure agencies consider the environmental impacts of their actions in decision

making. 40 C.F.R. § 1502.1. Accordingly, every time an agency prepares an environmental

impact statement, it must answer three questions in order. First, what is the purpose of
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the proposed project? Second, given that purpose, what are the reasonable alternatives to

the project? And third, to what extent should the agency explore each particular

reasonable alternative? Simmons at 668.

       NEPA does not, however, mandate that an agency reach any particular decision,

only that the agency follows NEPA's procedures to arrive at an informed decision. Yankee

Nuclear Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519, 558 (1978). It is therefore

well-settled that even environmentally harmful projects will satisfy NEPA as long as the

appropriate procedures are followed. See Robertson v. Methow Valley Citizens Council, 490

U.S. 332, 350-51 (1989). In that sense, the rights NEPA provides are procedural, not

substantive. Yankee                                       EPA mandates a searching inquiry

                                                                    Simmons, 120 F.3d 664, 666.

                                                  in public, after a full airing of alternatives.

It thus blends a faith in technocratic expertise with a trust in democracy. Officials must

                                                                          ntemplated acts; and

citizens get a chance to hear and consid                                              Id (citing

Robertson v. Methow Valley Citizens Council,

agency has heard all the objections to a plan and considered all the sensible options before

it, the agency has                    Id.


                      PLAINTIFFS ALLEGATIONS OF NEPA VIOLATIONS

       As mentioned above, the Corps discharges its statutory duties for the MMR

through its Regulating Works Project. In 2017, the Corps adopted the ROD approving its
                                              9




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2017 Regulating Works Project and Final Supplemental Environmental Impact Statement



bank hardening revetments and related operations and maintenance activities. The FSEIS

                                nmental Impact Statement which was completed in 1976.



violations of NEPA. Generally, Plaintiffs suggest that the FSEIS (1) ignores the impacts of

O&M activities (Doc. 34-1, P. 26); (2) its Purpose and Need is too narrow (Doc. 34-1, P.

27); (3) it ignores reasonable alternatives (Doc. 34-1, P. 30); and (4) fails to adequately

analyze project impacts. (Doc. 34-1, P. 37). The Court will address each in turn.


A. THE CORPS O&M ACTIVITIES ALONG THE MMR

       NWF complains that the FSEIS of May 2017 does not properly a

operations and management activities, including revetments, dredging and spoils

disposal. NWF argues that the impact of the continued dredging, whether under the

present operations or pursuant to the proposed construction alternative, must be

reevaluated for alternatives. (Doc. 34-1, P. 17). The Corps responds indicating that NWF

mistakenly relies on an impact summary table (AR. 980), and points to evidence that the

Corps did, in fact, consider and analyze dredging impacts. A review of the FSEIS reveals

that the Corps considered and discussed the effects of dredging on water quality and

turbidity, the downstream transport of contaminants, such as heavy metals and organics

(AR. 1144-1146), Benthic Macroinvertebrate resources, fishery resources, entrainment of

fish during dredging, habitat (AR. 1104-1111), noise (AR. 1108-1109, 1112), and air
                                        10




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pollution. Further, the Corps, in keeping with interagency Tier considerations, looked to

and considered the biological opinions of the National Fish and Wildlife Service and its

recommendations for emergency dredging limitations and monitoring in the effort to

protect indigenous fish species. (AR 1050).



                              conditions, the many changes in environmental laws and

policies mandating greater environmental protections, and scientific advances in




or information relevant to environmental concerns and bearing on the proposed action

                                                                           laints by stating

                         point of the FSEIS was to supplement the 1976 EIS due to new



      The record reveals that the Corps believed that it was appropriate to supplement

                                                   information and circumstances that could



                                               few: new federally protected species of fish

and wildlife, new programs to restore populations of fish and wildlife, information on

the impact of training structures, the impact of dredging, and technological information

obtained from 3-D hydraulic models and studies of geometry and geomorphology to

determine channel shape and characteristics over time. (AR 964-967). The FSEIS also

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provides updated information on a variety of subjects including the MMR river channel,

configuration and stages, water quality, air quality, aquatic and endangered species,

cultural elements, effect of maintenance dredging, and impact of O&M on navigation

channel and water quality. Further, the FSEIS identifies information found in the 1976

EIS that it still considers relevant and which it determined no updated information

needed to be supplied. (AR. 965; see also Table 1-2 at AR. 966-968).

       A review of the record reveals that the FSEIS does not ignore the impacts of O&M

Activities. Rather, it demonstrates that a thorough investigation into the environmental

impacts of the Project and alternatives was conducted. Still, there are conceivable

circumstances and conditions that are present within and along the MMR that are not

                                                 there is no requirement under NEPA that

every aspect of a project be studied ad nauseum or that all negative impacts of the project

be eradicated.



B. THE FSEIS AND ITS PURPOSE AND NEED STATEMENT

       Next, the NWF complains generally that the Purpose and Need Statement



for approval, and other reasonable alternatives are elimin

further argues that FSEIS ignores environmental laws and authorizing legislation (Doc.

34-1, P. 18), and fails to demonstrate project need. (Doc. 34-1, P. 19). More to the point,



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training structure and revetment construction to reduce dredging costs, regardless of

flood risks and ecological impacts. (Doc. 34-1, P.18). In response, the Corps points out

that the purpose and need is

navigation channel by using regulating works, with minimal supplemental dredging.



need statement did not violate NEPA. (Doc. 40-1, P. 14).



                                                  the impact of the action. The requirement

that there be a purpose and                                         sure agencies consider the

environmental impacts of thei

§ 1502.3; 42 USCA § 4332(C). The Council on En



purpose and need for the pr                               § 1502.13. The purpose and need



Sea v. U.S. Dep't of Transp., 123 F.3d 1142, 1155 (9th Cir. 1997); see also Van Abbema v.

Fornell, 807 F.2d 633, 638 (7th Cir. 1986) (reasonableness of a particular statement of

purpose and need depends on both the nature and general goal of the project itself). In

the end, the statement of a project's purpose and need is left to the agency's expertise and

discretion, and Courts defer to the agency if that statement is reasonable. Alliance for Legal

Action v. FAA, 69 Fed.Appx. 617, 622 (4th Cir. 2003).



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                                                                   R 943), the Corps points to

Senatorial records dating back to 1881 wh

                                             that of contraction, thus compelling the river

to scour its bed; this process being aided, if necessar

Executive Doc. 10, 47th Congress, 1st Session). The Corps further indicates that in the

Rivers and Harbors Act of 1910 Congress authorized obtaining and maintaining the

MMR to be carried out in accordance with the 1881 MRC plan. Id. In the statement, the

Corps also suggests that the Rivers and Harbors Act of 1927, which changed the

authorized depth and width of the navigation channel, was based upon the Chief

                                                  t is essential that additional regulating

works and bank protection be carried to a point where a minimum of dredging is

required and a stable channel at all times . . . and that the regulating works and revetment

be completed and that dredging, which affords only temporary relief, be resorted to only

                                                                                Id.



may be universal along the MMR, the needs for each specific location are not. Several

sites require recurrent dredging, producing millions of cubic yards of dredging material.

(AR 959). These sites have proven to be more troubling and difficult to manage which

translates into higher site-specific costs. The statement goes on to describe the differing

needs at various locations along the MMR and how a reduction in the amount of

dredging over the last few decades was attained by the installation of revetments and

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training structures.                                          s argument, the statement also

reminds that it is appropriate to consider the economic impact of dredging because the

purpose of the Regulating Works Project is to fulfill its goal of keeping the authorized

                                      of reducing co                 See 40 C.F.R. § 1502.22

(AR 955). It points as well to the need for continued bank stabilization in certain locations

through revetment construction and maintenance because unprotected banks along the

MMR have historically experienced an annual erosion rate of as much as 10 feet. (AR 960).

The Corps believes that the purpose and need of the project are better realized at certain

locations along the MMR by less dredging and more training of the channel. And, while

                                              is clear that the Purpose and Need statement

at issue here meets the requirements of NEPA. 40 C.F.R. § 1502.140; C.F.R. §1502.3; 42

USCA § 4332(C).

       Still, the NFW complains that the statement improperly limits alternatives. More

                                                                     e and Need Statement




and revetment construction to reduce dredging cost, regardless of flood risks and

ecological impacts, and disregards other le

The Court disagrees.



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       It is true that how an agency fashions its Purpose and Need Statement can

naturally include certain alternatives to the project while excluding others. And,



as to define competing reasonable alternatives out of cons

the very underpinnings of the NEPA. Simmons 120 F. 3d 664, 666. NWF is concerned that

                                  atement does just that. But there is nothing in the record

that meaningfully supports the argument that the Corps tailored its Purpose and Need

Statement to limit alternatives solely for the purpose of reducing costs even at the expense

of the flood risks and negative ecological impacts. Here, the paramount goal for the Corps

is to maintain a navigable waterway along the MMR, and there are a limited number of

ways to accomplish this goal. One is to dredge. But dredging can be accomplished in

numerous ways. Another is to construct training structures. Likewise, there are many

types of structures that have and can be used to accomplish the purpose. The FSEIS

discusses the numerous methods, and their known relative impacts on the river bottom

and the general ecology along the MMR. Nevertheless, without identifying a specific



objectively evaluate all reason

further below, this argument is also unpersuasive.


C. THE FSEIS AND THE CORPS CONSIDERATION OF ALTERNATIVES

                                    present the environmental impacts of the proposed

action and the alternatives in comparative form based on the information and analysis
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presented in the sections on the affected environment and the environmental

                                                     the EIS must evaluate and discuss in

detail reasonable alternatives to the proposed action, identify the no-action alternative

                                                 ternatives, identify appropriate mitigation

measures, and limit consideration of alternatives to a reasonable number. Condensed,

                                                 NEPA is to be an evaluation of alternative

means to accomplish the gene                                Simmons v. U.S. Army Corps of

Engineers, 120 F.3d 664, 669 (7th Cir. 1997). An agency need not examine every

conceivable alternative. Identifying, assessing, and comparing alternatives costs time and

money, see Metropolitan Edison v. People Vs. Nuclear Energy, 460 U.S. 766, 776 (1983), and

an agency should focus its energies only on the potentially feasible, not the unworkable.

                                          Simmons, at 669.

      NWF asserts that the FSEIS is contrary to settled law in that it failed to consider



restore backwater, side channel, and braide

                                                   proposes ecological restoration and fish

                               oc. 34-1, at 33). While restoration of connected water river

habitat, ecological repair, and conservation are all unarguably noble purposes and

certainly appropriate for consideration by the Corps, NWF fails to point to evidence that

would suggest that these are reasonable alternative methods to ensure the maintenance

of a navigable waterway along the MMR.

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        Nevertheless, the record demonstrates that the Corp did not ignore reasonable

alternatives. Here, the Corps did consider and address the proposed alternative of



                                                  River have water control plans that address

and maintain those particular                          under that author



during the drought in 2012 that the impact of these alterations was not substantial enough

to consider this as a reason

                                                   ties on the Project was not considered [a]

reasonable or feasible alternative due to the fact as it would not . . . [provide] a safe and

                                              R 974). It likewise addressed the proposed

alternative of constructing locks and dams bu                              ed a reasonable or

viable alternative because it . . . was beyond the scope of the purpose of the SEIS to update

                                                        al authority to even be studied. (AR

974).



                                                   removal of training structures to improve

habitat. The FSEIS provides a detailed analysis of the effect of chevron dikes (AR 1117),

bend way weirs (AR 1118), and revetments (AR 1119) on riverbank erosion and loss of

habitat. (AR 1117-1136). The FSEIS also recognizes that the use of training structures will

have impacts on fish, wildlife and habitat, and it specifically considered the removal and

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structures were designed by engineers without the assistance of modern numerical and

physical model studies that are now used to optimize structure locations, configurations



notch, or otherwise alter configuration of existing rive

                                                                  much more than cursory

reviews and this Court believes they were gi                            ient to meet NEPA

requirements.

                                                 y not be disregarded merely because it

would require additional Congre                                   at the Corps violated this

                                             er alternatives that require Congressional

approval. (Doc. 34-1 at 33-34). NWF cites to the case of Muckleshoot Indian Tribe v. U.S.

Forest Serv., 177 F.3d 800, 814 (9th Cir. 1999) in support. The Court believes that NWF

reads Muckleshoot expansively and more broadly than is reasonable. In Muckleshoot, the

Court expressed its concern that the agency there declined to consider an otherwise

reasonable alternative because it believed that the funds to support it were speculative,

while, at the same time, the agency did consider other alternatives that were also



selective willingness to rely upon the availability of funding sources beyond the

                           Id. However, nothing in Muckleshoot suggests that for each

alternative an agency must be declined congressional authority before it may discard it

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as being unreasonable. Little imagination is required to foresee the enormity of hurdles

for all agencies if that was the law. All agency progress to fulfil the purpose of its very

existence would come to a halt while congressional approval was sought. 2 NWF fails to

offer, and the Court is unable to find, anything within NEPA that would require that

heightened level of scrutiny for each proposed alternative.


D. THE FSEIS AND PROJECT IMPACT ANALYSES

        Next, NWF lodges myriad complaints regarding, in its view, the shortcomings of

the FSEIS in its analysis of the impacts of the project. (Doc. 34-1, 37). More specifically,



flood heights and response, sediment loading, transport, and related hydrology, that the

Corps improperly relied on defective and inadequate border habitat models, and that the

FSEIS fails to meaningfully evaluate mitigation. (Doc. 34-1, Pp. 37-51).

                                           e environmental impacts of the proposal and the

alternatives in comparative form, thus sharply defining the issues and providing a clear

basis for choice among options by the de                                                                 3




2According to the Corps, it did seek modification of
aquatic resources, restoration of ecosystems, to no avail. See 33 USC §652(c) (declining to authorize
recommendations); see also AR 2312-2318 for a discussion of the legislative history of the Water Resources
and Development Act, 33 U.S.C. § 652.

3

alternatives section should present the environmental impacts of the proposed action and the alternatives
in comparative form based on the information and analysis presented in the sections on the affected
environment (§ 1502.15) and the environmental consequences (§ 1502.16). See 40 C.F.R. § 1502.14.
                                                   20




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Thus, NEPA requires an agency to consider and address in its EIS the anticipated

environmental impact of not only the chosen project plan, but also those of the reasonable

alternatives. The relative reasonableness of the chosen plan as well as those alternatives

not chosen, can be accomplished by examining the environmental impact of each. This

process of comparison lends itself to ensure that the chosen plan is weighed in the light

of full public disclosure and involvement which furthers the goals of NEPA. But



                                                 vironmental consequences of reasonable

alternatives. Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 350 (1989) (NEPA



                                                                       tal consequences of

their actions). While the Corps did not comport its decision with the wants of NWF, this



       Many of the contentions advanced by NWF are planetary to a central argument

that the Corps ignored available scientific advances and knowledge. But it is here that

NWF conflates an outright refusal to consider science with a rejection of a contentious

proposition after it is given due considerat

overwhelming science and data showing a direct and irrefutable causal relationship



                                            ically, NWF complains that the Corps ignored

studies conducted by local university professors, Pinter and Criss. (Doc. 34-1, P. 39). This

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countering points of view, studies, and observations on the issue of whether or to what

degree training structures contribute to flooding. (AR. 1207-1238). The FSEIS analyzes

numerous highly technical studies conducted by a variety of scientists and addresses

some of the advantages and shortcomings of each. (AR. 1212). The relevant work of Pinter

                                                    r methodology and findings are discussed in

detail. 4

        Also, in Appendix A are references to and consideration of other pertinent studies.

                                                               these studies focus on inaccurate,

incomplete, and irrelevant data, along with data analysis observed by studies conducted




34-1, P. 45). In 2009, another study determin

demonstrate that the relationship between stage trends on the MMR and dike

construction is statistically significant. Nevertheless, the Corps also considered new




4 As the Corps points out, the notion that training structures induce flooding along the MMR is not new. It
has been studied and considered previously. In fact, in what is commonly referred to as NWF I, National
Wildlife Federation v. United States Army Corps of Engineers, 2014 WL 6685235 (S.D. Ill. Nov. 24, 2014) this
Court, Judge David Herndon (Ret.), considered the issue of whether injunctive relief was appropriate to
prevent construction of any new river training structures in the Upper Mississippi River System. There too
                                                          monstrated that river training structures increase
flood levels. Since the time of the decision in NWF I, Dr. Pinter has conducted further studies. The Corps
gave consideration to those new studies in Appendix A.
                                                    22




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competing bodies of work that address possible correlations between training structures

and flooding. (AR 1214-1216). The Corp then analyzed those works that found a positive

correlation by assessing the methods and approaches used in each and found a variety of

errors. Thus, the Corps did not ignore the science of flooding as NWF suggests; rather,

the Corps simply rejected Pinter

opinion as to whether training structures bring about increased flooding, and while NWF

may subscribe to those studies that find correlation, the FSEIS and Appendix A illustrate

that the Corps fulfilled its obligation under NEPA to take a hard look at the science that

addresses that question.


E. THE INDEPENDENT PEER REVIEW PANEL        S COMMENTS & RECOMMENDATIONS


      NWF next contends that the Corps failed to address comments and

recommendations from an independent external peer review panel. Specifically, the

Corps submitted a draft of the SEIS to an Independent External Peer Review panel

                           the IEPR is to ensure that th                 ts are supported




four recommendations in response to the SEIS draft. NWF represen

NEPA, the Corps never addressed these recomme

incorrect because, as the Corps points out, it addressed each recommendation of the IEPR

and incorporated them into the FSEIS. (AR 670-80) Specifically, the Corps concurred with
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some of those recommendations and incorporated corresponding changes to the FSEIS,

particularly on the issues of types of structures to be used. Likewise, after the Corps

provided its explanations in response to the IEPR recommendations, the IEPR panel

                                             (AR 672). Further, when the IEPR panel

recommended that the draft SEIS should include a revision to include information on

sediment properties, the Corps expanded Chapter 3 of the SEIS accordingly (AR 677).

These volleys of ideas, criticisms, explanations, and compromises illustrate here that the

purposes of the NEPA directed at ensuring both unfettered public participation and

independent procedural oversight have been served.

      NWF also complains that the FSEIS lacks essential information on sediment

loading, sediment transport, hydrology and hydraulics of the MMR. (Doc. 34-1. P. 39).



it omits essential data and analysis on current sediment loading, sediment transport,

                                                 40). In support of this argument NWF

                                                        concluded

information on the hydraulic and hydrologic

                                                  ference is not only incomplete, but also

misleading. A reading of the entire referenced sentence leaves no room for anything but

the conclusion that the information available was adequate. The sentence in its entirety

                                             rmation on the hydraulic and hydrologic

engineering data for the MMR, the 1976 EIS on the MMR was reviewed for this data and

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it was found to be complete and suitable

data and information make up the mainstay fo

inadequate data and information naturally suggest arbitrary decision making on the part

of the agency. Here, quite contrary to the representations of NWF, the IEPR panel found

the applicable data to be complete. Further, the Corps did not act arbitrarily when it

looked to hydraulic and hydrological engineering data from 1976. Accordingly, the Court

finds that the Corps adequately addressed in a responsive and thorough manner the

concerns and recommendations raised by the IEPR. 5

F. THE MAIN CHANNEL BORDER HABITAT MODEL



information. Specifically, NWF challenges th

Habitat Model and the Nineteen Mile Modeled Reach. NWF asserts that the Main




5The Court is concerned with the lack of candor on some of the issues raised by NWF and representations
made to this Court about the content of the record. It is worthy of note that the record in this matter consists
of over 49,000 pages. The issues raised on review here, as with most any case brought for review under the
ARA, requires a delving into the record. Apart from the large volume of documents contained in the record,
NEPA cases become particularly burdensome because the analysis often takes the Court into a highly
technical realm requiring a development of specialized knowledge. Any lack of candor on the part of
counsel as to the contents of the record is particularly offensive because it requires the assignment of

Mischaracterizing the contents of the record or omitting important or operative terms contained in a
sentence in the record violates the lawyers most basi
                                                                                                         United
States Dep't of Hous. and Urban Dev. v. Cost Control Mktg. & Sales Management of Va., Inc., 64 F.3d 920, 925
                                                           must always prevail in any conflict with the duty of
                      United States v. Shaffer Equip. Co.,
to ... advocate vigorously are trumped ultimately by a duty to guard against the corruption that justice will

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Channel Border Habitat Model is incomplete and that the Nineteen Mile Modeled Reach

fails to address the locations, types and extent of river training structures to be deployed

by the Project. (Doc. 34-1, P.




impact shallow to moderate-depth, modera

       The Main Channel Border Habitat Model was initiated by the Corps to assist in




existing models [that] the District made the decision to develop a new model that would

adequately represent the key MMR habitat variables adversely affected by river training

                                                  d, the Corps chose to utilize the Sturgeon

Chub Model that is intended to help quantify the effects of river training structure

construction and modification on the quality of Sturgeon Chub habitat. Id. Additionally,



                                                            Id. Nevertheless, NWF contends

                                               thout sufficient justification the Corps failed



completed and certified before it was used

       In Sierra Club, Illinois Chapter v. U.S. Dep't of Transp., 962 F. Supp. 1037 (N.D. Ill.

1997) the court considered whethe                                   of a project was excessively

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narrow when the agency relied on a single population forecast to analyze whether to

build a roadway. Id at 1043. The court determined that

unavailable information as to the impact of a proposed action, and that information is

essential to make a reasoned choice among alternatives, NEPA requires an agency to

make clear in the final impact statement that the study was not undertaken and that there

are reasons the study                        Id.; see 40 C.F.R. § 1502.22. Here, the Corps

recognized the lack of specific knowledge regarding certain impacts of training

structures, disclosed that fact publicly, and then conducted a three-day interagency

workshop with the U.S. Fish and Wildlife Service, the Missouri Department of

Conservation, the Illinois Department of Natural Resources, and experts in the fields of

model development, fisheries biology, river ecology, river hydraulics, and river

maintenance to develop an effective model. (AR 399). Toward the certification of the use

of the Sturgeon Chub Model, a team of independent reviewers were then consulted, their

comments and recommendations were considered, and in some cases, integrated by the

Corps. (AR385; 412-433). Clearly, the Corps did not ignore the need for a workable model

to address channel border habitat, nor did it fail to make the lack of new comprehensive

study or model known. Rather the Corps reasoned that because the MMR is uniquely

varying and dynamic, it is appropriate to study each future construction site

independently and apply parameters of existing and developing models to each such site.

      The Nineteen Mile Modeled Reach was created as a means of programmatic



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                                                 the Corps considered a 19-mile stretch of

the MMR near Chester, Illinois which the Corps believes is representative of the entire

                                                   of the structure and habitat types in the

MMR, has good bathymetric (data regarding submarine terrain) and is of an appropriate



1122). The Corps developed the Nineteen Mile reach model to analyze otherwise

unknowable impacts on channel border habi

conversion to structured main channel habitat is expected to have a significant adverse



40-1, P. 51; AR 1132).

       The FSEIS also addressed the difficulty in projecting with certainty the best

location of training structures throughout the MMR:

       One of the recurring challenges with determining the future impacts of
       implementation of the Regulating Works Project on the human
       environment is the fact that the exact locations of future work sites and the
       exact structures to be used are not known. Given the dynamic nature of the
       MMR, work sites are developed on an ongoing basis as dredging issues
       arise and the set of structures to be used to address dredging issues at each
       location is developed based on the unique characteristics of each site.
       Because of these uncertainties in location and configuration of future
       structures, it was necessary to use existing dike fields within the modeled
       reach to serve as surrogates for work sites to estimate future impacts.

(AR 1123).

       Because this is an ongoing project the environmental impacts of which, according

to the Corps, have been forecasted as much as current technology allows, deference to
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the insight and expertise of participating Corps engineers, biologists, and scientists,

together with those in agency partnership with them, is warranted. This Court finds that,

under the circumstances reflected in the record, it is not necessarily arbitrary for an

agency to defer site specific impact and mitigation analysis until the exact project sites

can be identified, particularly when faced with a constantly changing and

inhomogeneous theatre of project operation, such as the MMR. According to the record,

the need for maintenance of the depth and breadth of the channel has historically varied

along the river and there is nothing to suggest that has changed. As the Corps alludes to,

natural changes in flow volume and velocity alters the course of the banks and substrate

through a constant process of erosion and accretion sometimes in unpredictable ways

such that forecasting exact site locations along the 195-mile stretch is not practicable. It

must be kept in mind that the Corps has the Congressionally imposed obligation to

maintain a navigable waterway. At the same time, it must examine and analyze all

reasonable means and alternatives with constant consideration of the impact that each

pose to our environment. True, the determination to defer identification of future

worksites is not ideal. However, the Corps was neither arbitrary nor capricious in

reaching its decision to defer site-specific analysis and mitigation and utilize an existing

model to determine the efficacy of placement of river training structures.

                                                 ng NEPA violations are unpersuasive, and

the Court finds that the Corps complied with its requirements under NEPA, and none of



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abuse of discretion, or otherwise not in accordance with the Administrative Procedures

Act.


             ALLEGED VIOLATIONS OF THE WATER RESOURCES DEVELOPMENT ACT

        NWF also claims that the Corps violated the Water Resources Development Act



the Court to 33 U.S.C. §§ 2283(a)(1) and 2283(d)(1). Section 2283(d)(1) provides:

        (d)(1) After November 17, 1986, the Secretary shall not submit any proposal
        for the authorization of any water resources project to Congress in any
        report, and shall not select a project alternative in any report, unless such
        report contains (A) a recommendation with a specific plan to mitigate for
        damages to ecological resources, including terrestrial and aquatic resources,
        and fish and wildlife losses created by such project, or (B) a determination
        by the Secretary that such project will have negligible adverse impact on
        ecological resources and fish and wildlife without the implementation of
        mitigation measures. 6




6                                                       s argument. Significantly, NWF does not accurately
and completely recite the language found in § 2283(d)(1). This may explain why counsel does not argue for
and simply skips by any interpretation of that provision. (See Doc. 34-1, P. 52 and Doc. 43, P. 28-29).
Specifically, NWF found it appropriate to omit the part of the statute that refers to such reports as those
that are to be submitted as a proposal to Congress. Nothing in this section specifically refers to EIS, SEIS or
FSEIS. While statements of fact and arguments lacking candor are always troubling, the extensive record
and complex issues presented in this case made NW
for the Court. And, while the Court recognizes the passion of the Plaintiffs and their supporters for the
work that they do to protect the environment and wildlife, their cause is not, in the end, furthered by
misrepresentations of the law and contents of the record. Such ignoble conduct, though for noble purposes,
never wins the day. Counsel is cautioned to thoroughly review Federal Rule of Civil Procedure 11. Future
disingenuousness of this magnitude will not be tolerated by the Court and may result in sanctions. See,
e.g., Matter of Hendrix, 986 F.2d 195, 201 (7th Cir. 1993) (In deciding whether a lawyer has engaged in
sanctionable conduct, courts look to the rules of professional conduct and Rule 11).
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       A reading of Section 2283(d)(1) reveals that it addresses only proposals for

authorization of water resources in reports to Congress. And, while Section 2283(d)(1)

might have been more succinctly articulated, this Court disagrees that its language is

ambiguous or that it is susceptible to more than one reasonable interpretation. See Hammer

v. United States Dep't of Health & Hum. Servs.

ignore the plain meaning of the statute because Congress could have, arguably, made the

                                   Caraco Pharm. Lab'ys, Ltd. v. Novo Nordisk A/S, 566 U.S.

                                                    phrasing cannot defeat the most natural

                                                 party to conceive of any meaning other than

the clear meaning of a statute does not render it ambiguous for interpretation purposes.

       Giving the words used in Section 2283(d)(1) their usual and customary meaning

reveals a sentence structure that cannot support a reading other than that Congress

decided to require reports submitted to it, either as a proposal for authorization or as an

alternative to the project, to contain a mitigation plan unless the impact is negligible. To



(reports to Congress) and that in the same sentence Congress assigned to it an all-

encompassing and universal meaning (reports of all kinds including statements of



assumption would require this Court to trav

beyond the borders of the statute itself. See United States v Great Northern Ry, 287 US 144,

154 (1932). The natural reading of the statute leaves no room for a finding that it is

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susceptible to the interpretation NWF assumes. Regardless, even if Section 2283(d)(1) is

ambiguous in the context NWF describes, an application of standard rules of construction

would not change the result.

       As with all questions of statutory construction, the proper place of beginning is



fundamental canon of statutory construction that the words of a statute must be read in

                                                                                    Sturgeon v.

Frost, 577 U.S. 424, 438 (2016) (citing                                  ., 566 U.S. 1350, 1357

(2012)); see also United Sav. Ass'n of Texas v. Timbers of Inwood Forest Assocs., Ltd., 484 U.S.

                                      tion, however, is a holistic endeavor. A provision that

may seem ambiguous in isolation is often clarified by the remainder of the statutory

scheme-because the same terminology is used elsewhere in a context that makes its



                      Wisconsin Cent. Ltd. v. United States, 138 S. Ct. 2067, 2070 (2018)

                                                    d does have a number of commonly

understood meanings attached to it, the differences being dependent most often on the

context being used. See https://www.merriam-webster.com/dictionary/report (last

                                                       or on radio or television that is about



spoken description of a situation, event,                              document that gives

information about a particular

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have some characteristics of a report in that it conveys to the public information regarding



agencies consider the environmental impacts of their action in decision making

§1502.1 (emphasis added). However, NWF fails to



Congress uses one it intends that the other be included as well.                     Moreover,



the NEPA. 42 U.S.C.A §4332. An often looked to canon of interpretation that is applicable

here recognizes that when the law is the subject, the legal meaning is to be expected which

often differs from the common meaning.              See Scalia & Garner, Reading Law: The

Interpretation of Legal Texts, 73, (2012); see, e.g., Van Buren v. United States, 141 S.Ct. 1648,



                Digital Realty Trust, Inc. v. Somers

statute includes an explicit definition, we must follow the definition, even if it varies from



WRDA, it is difficult to fathom that Congress would resort to using a commonly

employed polyseme as an operative term in a later law to replace its own unique term of

art                                             created for the purpose of facilitating

landmark legislation like NEPA. See Harco Holdings, Inc. U.S. 977 F.2d 1027, 1032 (7th Cir.

1992). Thus, the technical nature                                    rongly suggests that it is

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      Within the Water Resources Development Act, Congress has established specific

requirements for Corps' reports concerning water resources projects. Provisions of the



related to the planning and authorization of water resources projects. These provisions

discuss requirements for the Corps' reports related to water resources projects which

require specific authorization from Congress. For example, Section 2282a(f)(2), provides



resources project-- (B) shall be submitted, on completion, to--(i) the Committee on

Environment and Public Works of the Senate; and(ii) the Committee on Transportation

and Infrastructure of the Hous                              her, Section 2282a(g) provides



Engineers that recommends to Congress a water resources project, the Secretary shall--

(A) review the report; and (B) provide any recommendations of the Secretary regarding



general reevaluation reports, limited reevaluation reports, limited revaluation reports,

and feasibility reports that must be prepared for any water resources project requiring

specific authorization from Congress. See 33 U.S.C. §§ 2215(d) and 2282(a); see also ACF

Basin Water Litig, 467 F. Supp. 1332. Thus, one aspect of the statutory scheme of the

WRDA is for the submission of reports to Congress in the quest for legislative approval,

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argument rises or falls on its interpretation of Section 2283, its claim that the Corps

violated that provision also fails.


           ALLEGED VIOLATIONS OF THE FISH & WILDLIFE COORDINATION ACT

       Next, NWF complains that the Corps violated the Fish and Wildlife Coordination

                                                  that the Corps failed to consult with and



(Doc. 34-1, P. 49) The Corps responds arguing that the FWCA is not applicable and that,

even if it is applicable, the Corps complied with the Act because it consulted with the

FWS and state agencies. (Doc. 40-1, P. 59)

                                       to any project or unit thereof authorized before the

date of enactment of the Fish and Wildlife Coordination Act if the construction of the

particular project or unit thereof has been substantially



construction cost has been obligated for expend



in 1958. But the Plaintiffs also argue that because the Project was modified or

supplemented after 1958, the FWCA requires the Corps to consult and secure reports

from the FWS and state agencies. (Doc. 34-1, P. 56). The Corps contends, however, that it

did not modify or supplement the Project since 1927. (Doc. 40-1, P. 58).


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       As NFW points out, the Corps does not demonstrate that the record provides any

historical or projected spending analysis from which it can determined whether the



evidence that the Project was not modified or supplemented so as to make compliance



factual disputes which prevent a summary judgment in favor of the Corps on the issue

of applicability of the FWCA. But, the presence of issues of material fact as to application

of FWCA does not end the inquiry because the record does demonstrate that the Corps

has adequately met the consultation and reporting requirements of the Act.

       Section 662(a) provides that

water are proposed or authoriz

stream or other body of water otherwise cont

with the United States Fish and Wildlife Service, Department of the Interior, and with the

head of the agency exercising administration over the wildlife resources of the particular

                                n, or other control facility is to be constructed, with a view

to the conservation of wildlife resources by preventing loss of and damage to such



       Section 662(b) provides in pertinent part

agency exercising administration over the wildlife resources of the State . . . shall be made

an integral part of any report prepared or submitted by any agency . . . responsible for

engineering surveys and construction of such projects when such reports are presented .

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. . to any agency . . . having the authority . . . to approve a report on the modification or

supplementation of plans for previously authorized projects, to whic

16 U.S.C.A. § 662 (West).

       NWF contends that the Corps failed to consult the FWS or appropriate state

agencies for the purpose of preventing loss and damage to wildlife resources as required

by §662(a). To the contrary, the                                    tion that it did fulfill its

consultation obligations. The Department of the Interior, in conjunction with FWS,



FWS. (AR 1314-1335). The Missouri Department of Conservation and the Illinois

Department of Conservation each submitted numerous comments and suggestions to the

Corps. (AR 1336-1345). Each of the comments and suggestions were made part of the

FSEIS in its Appendix E. The record illustrates that in response to these comments, the

Corps addressed in great detail the concerns raised by NWF on a myriad of issues. The

Corps responses are also part of the FSEIS. (AR 1357- 1413). In some instances, the Corps

adopted the recommendations contained in the comments. In others, the Corps provided

explanation and reference in support of its responses. In some responses, the Corps

invited further consultation and cooperation, particularly with regard site-specific and

programmatic issues. Agreement and consensus were not reached on each comment

posed and, in those instances, the Corps makes clear its position and intended direction.

The Court, having reviewed each of the responses, is unable to locate any that could be

said to be insensitive, indifferent, or obtuse toward the corresponding comment or

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                                                 the Corps violated the FWCA by failing to

consult with the FWS is simply not supported by the record.

      NWF suggests almost in passing, and certainly without analytical development,

that it was incumbent upon the Corps to direct the FWCA prepare

1, P. 59). NWF fails to provide any basis for the suggestion that the Corps had the

authority or power to do so, and nothing contained in the FWCA suggests that the Corps

possesses such a cudgel.

      This Court finds that the Corps has complied with the consultation and reporting

requirements of the FWCA.


              ALLEGED VIOLATIONS OF THE 1927 RIVERS & HARBORS ACT

                                              s violated the 1927 Rivers and Harbors Act

by utilizing a 1,500-foot contraction plan and building river structures to reduce project

costs by reducing the amount of dredging. (Doc. 34-1, P.50). There is no dispute that the

Corps Project authority is limited by the 1927 RHA and that the Chief of Engineers Report

                                                  t. (Doc. 40-1, P. 53). Rather, NFW goes

further and claims that the Act specifically limited the contraction width to a distance

between 2,500 and 2,000 feet.

      Indeed, the contention here arises out of an appropriations bill enacted in January

                                                   tion, repair, and preservation of certain

                                                 s throughout the United States. The then


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Engineers in letter to the Chairman of the Rivers and Harbors Committee of the House

of Representatives, dated December

                                                  Engineers Report established the following

explicit limitations on the Project: (1) Constriction of the channel through regulating

works and revetment is limited to a conser

34-1, P.59) (AR 46968). But the Chief of Engineers Report does not create any such

                                 thority of the Corps and instead suggests in the body of



much less change in the original condition of the river than



Id. In fact, Major Gotwals, the author, did not mention any specific limitation in the

                                                     ly addresses the issue of contraction to



                                                   impose some limitations on the authority

of the Corps, restricting it to any specific contraction width is not one of them.

                                                        rbors Act created explicit limitations

on the authority of the Corps to increase the amount of contraction in its efforts to fulfill

its Congressionally imposed duty to maintain a navigable channel is not supported by

the record. Accordingly, the Court finds that the Corps did not violate the 1927 Rivers

and Harbors Act as alleged.

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                                       CONCLUSION

      The issues raised by the parties in their motions are largely the same due to the

nature of the review necessary under the Administrative Procedure Act. Although these



motions for summary judgment separately and on their own merits, and, where

appropriate, construed all facts and inferences in favor of the party against which the

motion under consideration was made. See Blow v Bijora, Inc. 855 F. 3d 793 (7th Cir. 2017)

      In sum, the Plaintiffs have not revealed any clear error of judgment on the part of



capricious, an abuse of discretion, or otherwise not in accordance with the Administrative

Procedures Act.    Therefore, having determined that the Corps has followed the

appropriate procedures, considered the relevant facts, and came to reasoned decisions,

                                ry Judgment (Doc. 34) is DENIED

Motion for Summary Judgment (Doc. 40) is GRANTED.

      The Clerk of Court is directed to enter judgment against Plaintiffs, and in favor of

Defendants and close this case.

      SO ORDERED.

      Dated: January 22, 2022


                                                  ________________________________
                                                  DAVID W. DUGAN
                                                  United States District Judge


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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

NATIONAL WILDLIFE FEDERATION, )
ET AL,                         )
                               )
                   Plaintiffs, )
                               )
vs.                            )                   Case No. 3:20-cv-443-DWD
                               )
UNITED STATES ARMY CORPS OF    )
ENGINEERS, ET AL,              )
                               )
                   Defendants. )

                             JUDGMENT IN A CIVIL ACTION

DUGAN, District Judge:

       IT IS ORDERED AND ADJUDGED that pursuant to the Memorandum and Order

(Doc. 55) entered by this Court on January 22, 2022, Judgment is entered in favor of Defendants

and against Plaintiffs.

       IT IS SO ORDERED.

       DATED: January 25, 2022

                                         MARGARET M. ROBERTIE, Clerk of Court

                                         s/ Dana M. Winkeler
                                         Deputy Clerk

Approved: s/ David W. Dugan
David W. Dugan, U.S. District Judge




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